            Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 1 of 76 Page ID #:1
                                           ~l




         Mack,Bruce and Mack, Jamie Yvonne
                                                                                         4~~- ~7/
       1
         P.O. Box 684
      2 Corona, California [92878]                                                                  r
        (951)880-4278                                                                           2019
      3                                                                                 JAN ~ 1
         Plaintiffs
      4

      5     In Propria Persona

      6
      7                                     UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
      8                                      IN THE COUNTY OF RIVERSIDE

      9
     10
                                                 EDCV19-0a2p                                           ~
            Bruce Mack and Jamie Yvonne Mack                     Case No.•                           ~~,'~
     11                          Plaintiffs,                       RIFIEbi COMPLAINT FOR DAN~AGES
     12                                                           nn.
              v.
                                                                  1.Violation of Civil Rights (Title 42 U.S.C.A
           (1)The STATE OF CALIFORNIA,a state                    §§ 1981, 1983, 1985; No Jurisdiction, Personal
 - ~: #.     agency in the County of Riverside; in its           ~J~'Y
            corporate municipal and official capacity;(2)          2.Fraud, Bad Faith
             Superior Court for the State of California,
            Riverside County, a state agency in the County a       3. Violation ofthe First, Fourth, Fifth, Sixth,
            Riverside;(3)Retired Judge Jean Pfeiffer              Thirteenth, and Fourteenth Amendments
            Leonard, for the County of Riverside in her            4. Racketeering (Title 18 U.S.C.(RICO)§
      8     Official capacity;(4)Retired Judge Jerome E.          1961,§ 1962(a)(b)(c), § 1963 and § 1964);
            Brock,for the County of Riverside in his official     Discrimination, Hate Crime, Bad Faith, Wire
"\          capacity;(5)Judge David A. Gunn,for the               Fraud, Mail Fraud; Deprivation of Civil Rights
            County of Riverside in his official capacity;(6)     (Title 18 U.S.C. §§ 241 and 242); Concealment,
            Riverside County Sheriff Deparhnent, in its           Obstruction ofJustice, False Imprisonment,
     21     corporate, municipal and official capacity;('~       Kidnapping, Aiding and Abetting, Civil
            Riverside County District Attorney Office, for thi    Conspiracy
     22     County of Riverside; in its corporate, municipal
                                                                   5. Denial ofIntangible Services 18 U.S.C. §
            and official capacity;(8)Michael A. Hestrin,
     23                                                           1346
            District Attorney for the County of Riverside, in
     24     its corporate, municipal and official capacity;(9)    6. Intentional Infliction ofEmotional Distress;
            Craig Johnson, District Attorney for the County      Personal Injury
     25     of Riverside, in his corporate, municipal and         7. California Government Code § 7.14 Rights
     26     official capacity;(10) Maureen DuMouchel             Under Administrative Adjudication and Due
            District Attorney for the County of Riverside, in    Process, California Government Code
     27     her corporate, municipal and official capacity;      §§11425.10-11425.60
           (11) California State Attorney General Xavier
     28     Becerra, in his official capacity;(12)Riverside



                          SASE NO.:             VERIFIED COMPLAINT FOR DAMAGES               Page 1 of70~~`
       Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 2 of 76 Page ID #:2




      County Police Deparhnent, a county agency for the      8. Theft, Destruction Alteration of Court
 1
      County of Riverside, in its corporate, municipal      Records(Penal Code § 687)
 ~a   and official capacity;(13) Housing and Urban
                                                             9. Violation of Federal Bankruptcy Stay and
      Development, a government agency in its
                                                            Chapter 7 Discharge 11 U.S.C. §362(a), Case
      corporate, municipal and official capacity;(14)
                                                            No. 6:11-BK-20377-DS; Double Jeopardy(42
      H&R Block, Inc., a Missouri Corporation (on
 4                                                          U.S.C. 2000 et seq, Calif. Penal Code 687)
      behalf of H&R Block Bank, a Missouri
 5    Corporation)in its corporate, municipal and           10. Accounting against all Defendants(bank
      official capacity;(15) Citibank, N. A., a Texas       statements, loan documents, escrow papers,
 6    Corporation in its corporate, municipal and           deeds, canceled checks,etc.)
 7
      official capacity;(16) Abbas S. Faradjollah, in hip   1 1. Quiet Title Action, 28 U.S.C. § 2409,2410;
      official capacity; (17) Sohila A. Faradjollah in      Foreclosure
      her official capacity;(18)Frederick Richard, in
      his official capacity;(19) Jeanetta Richard in her    12. Removal from Superior Court to Federal
 9    official capacity,                            ,       Court for no jurisdiction and doublejeopardy,
      ~F                            ,Defendants, and        Rules ofCivil Procedure Rule 81 Applicability of
10
      DOES 1 to 100, inclusive,                             the Rules in General; Removed Actions D.A.#
11                                                          356353 Criminal Case No.: RIF1700487 filed
                                                            02/07/2017; violation of Chapter 7 bankruptcy
12                                                          stay
13                                                          Demand For Jury Trial
                                                            and Leave To Amend
14

15

16                                      A. JURISDICTION AND VENUE
17            1. This court has original and subject matter jurisdiction over the Defendants to include
18    violations offederal law Title 28 U.S.C. Rule 81(a)(2),(4)(B)(5),(b)(5); 28 U.S.C. §§ 1331,28 U.S.C.
19    §§ 2409 and 2410; 1441(a), 1446 and 1447; Title 18 U.S.C. §§ 241, 242, 1961-1982, 1001 and 1341 as
20    defined by section 1346; Title 42 U.S.C. Civil Rights §§ 1981, 1983, 1985(3)(5), 1986 and 1988, which
21    entitles civil remedies by law and deprivation ofrights under color oflaw, statute, regulation, custom
22    and usage of action proper under 28 U.S.C. §§ 1331, 1343(a)(1,2,3 and 4), 1334, 1391(b), 1746,2409a
23    and actions affecting real property to quiet title and under 28 U.S.C. 2410(c)and Title 11 U.S.C. §362(a)
24    as a federal bankruptcy discharge was final judgment.
25           2. This court has original and subject matter jurisdiction over the above-named defendants for
26    violation offederal laws and state law claims pursuant to 28 U.S.C. § 1367 due to continued violation
27    Plaintiffs' civil and unalienable rights under the First, Fourth, Fifth and Fourteenth Amendments to the
28    United States Constitutions ofthe United States of America; Article III, Section 2, Article VI Clause 2



                     CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                Page 2 of70
      Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 3 of 76 Page ID #:3




 1   and California Constitution, Article V. This court has original and subject matter jurisdiction over
 2   Housing and Urban Development(HUD)issues and banking issues Titles 5, 11, 15, 26 and 31 U.S.C.
 3           3. Venue is proper in the Central District of California under 28 U.S.C. § 1391(b)(2) and
 4   pursuant to 28 U.S.C. § 1651 against all defendants relating to Plaintiffs' real properties described
 5   commonly as:
 6         (a) 1404 Via Del Rio, Corona, County of Riverside, State of California and legally described as
 7          Lot 46 of Tract No. 4171,in the City of Corona, County of Riverside, State of California, as per
            map recorded in Book 73,Pages 66 Through 68 inclusive of maps ofrecord in the office of the
 8          County Recorder of said county by recorded grant deed dated September 28, 1992, Document
            No. 361869; and
 9
10         (b) 17201 Bluff Vista Court, Riverside, County of Riverside, State of California and legally
            described as Lot 30 of Tract No. 29419 according to map recorded in 331, Pages 26 through 35,
11          inclusive of maps,in the office of said County Recorder of California by recorded grant deed
            dated September 28, 2006, Document No. 2006-0716857.
12
13          4. This court also has jurisdiction regarding the administrative adjudication process and of all

14   causes of action (real property, criminal and civil), as this court may issue orders and writs necessary in

15   the aid oftheir jurisdiction agreeable to the usage and principles of California law and per Title 5 U.S.C.

16          5. Plaintiffs are aware that this Court has jurisdiction over this action, as all parties reside or do

17   business in Riverside County and/or the State of California, and Plaintiffs were illegally, unlawfully

18   through the acts under color of state law,racketeering, conspiracy and corruption committed by

19   Defendants, falsely charged, arrested and imprisoned at the Robert             Detention Center, Riverside

20   County without probable cause or an arrest warrant over a civil matter. There was no victim and no

21   crime. Defendants (the STATE OF CALIFORNIA,the State Court, Leonard, Brock, Gunn,the Sheriff.

22   Department the D.A., Hestrin, Johnson, DuMouchel, Becerra, the P.D., Nava and Parker), failed to

23   investigate Plaintiffs' prior reports and notices, acted on false or no information, each acted knowingly,

24   intentionally, maliciously on purpose, in continuous violation ofPlaintiffs' due process and unalienable

25   rights secured by the First, Fourth, Sixth, Seventh and Fourteenth Amendments to the United States

26   Constitution. In doing so, Defendants violated Plaintiffs' civil rights secured by Title 42, U.S.C. §§

27   1981, 1983, 1985(3), 1986; and violated state and federal laws prohibiting racketeering, hate crimes,

28   discrimination, elder abuse, violation of bankruptcy stay, and prejudice against Plaintiffs, who are black



                    CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                   Page 3 of70
       Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 4 of 76 Page ID #:4



 1    senior citizens who were falsely arrested and wrongfully imprisoned as stated below. Named
 2    Defendants' conduct is continuous and ongoing.

 3                                                PARTIES
                                         PLAINTIFFS AND DEFENDANTS
 4
             6. Plaintiffs Bruce Mack and Jamie Yvonne Mack, American Citizens (hereinafter "Plaintiffs,"),
 5
      in the State of California located at 1946 7`h Street, # 210, Riverside, California 92507. Plaintiffs are the
 6
      legal, allodial title owners of the real properties fully described in 9[ 3 above.
 7
               7. The State of California, a state agency in the County of Riverside (herein after Defendant
 8
      and "the State") in its corporate, municipal and official capacity, is located at 455 Golden Gate, Suite
 9
      1 1000, San Francisco, CA 94102-7004.
10
               8. Superior Court of the state of California, Riverside County, a state agency in the County of
11
      Riverside, in its corporate, municipal and official capacity,(herein after Defendant and "the Court")
12
      Civil Division is located at 4050 Main Street; Criminal Division is located at and doing business from
13
      4100 Main Street, Riverside CA 92501.
14
              9. Retired Judge Jean Pfeiffer Leonard in her official capacity,(herein after Defendant and
15
     "Pfeiffer") appeared and did business from at 4100 Main Street, Riverside CA 92501.
16
             10. Retired Judge Jerome E. Brock in his official capacity,(herein after Defendant and "Brock")
17
      appeared and did business from at 4100 Main Street, Riverside CA 92501.
18
             1 1. Judge David A. Gunn in his official capacity,(herein after Defendant and "Gunn")is located
19
      at and doing business from 4100 Main Street, Riverside CA 92501.
20
             12. Riverside County Sheriff Department, in its corporate, municipal and official capacity,
21
     (herein after Defendant and "the Sheriff') is located at and doing business from 4095 Lemon Street,
22
     Riverside CA 92501.
23
             13. Riverside County District Attorney Office, in its corporate, municipal and official capacity,
24
     (herein after Defendant and "the D. A.") is located at and doing business from 3960 Orange Street,
25
     Riverside, CA 92501.
26

27

28




                     CASE NU.:           VERIFIED COMPLAINT FOR DAMAGES                    Page 4 of 70
         Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 5 of 76 Page ID #:5




   1            16. Michael Hestrin, employee with the Riverside County District Attorney Office (herein after
   2    Defendant and "Hestrin.") in his corporate, municipal and official capacity, is believed to be located at
   3    and doing business from 3960 Orange Street, Riverside CA 92501.
   4            17. Craig Johnson, employee with the Riverside County District Attorney Office (herein after
   5    Defendant and "Johnson") in his corporate, municipal and official capacity, is believed to be located at
   6    and doing business from 3960 Orange Street, Riverside CA 92501.
   7            18. Maureen DuMouchel, employee with the Riverside County District Attorney Office (herein
   8    after Defendant and "DuMouchel") in her corporate, municipal and official capacity, is believed to be
   9    located at and doing business from 3960 Orange Street, Riverside CA 92501.
10              19. California State Attorney General Xavier Becerra, a state employee, in his official capacity,
11      (herein after Defendant and "Becena") is located at and doing business from c/o State Capitol, 1300I
12      Street, Sacramento, California 95814.
13             20. Riverside County Police Department (herein after Defendant and "PD") is located at and
14      business from 4102 Main Street, Riverside CA 92501
15             21. U. S. Department of Housing of Urban Development, a government agency, in its corporate,
16      municipal and official capacity, (herein after Defendant and "HUD"). is believed to be located at and
17      doing business from 451 7~' Street SW, Washington Street, Washington DC 20410.
18             22. H&R Block, Inc., a Missouri Corporation, located at One H&R Block Way, Kansas City,
19      MO. 64105 (on behalf of H &R Block Bank, a Missouri Corporation, was initially located at, and doing
20      business from One H&R Block Way, Kansas City, MO. 64105. HRBB filed a Certificate of Surrender
21      with the California Secretary of State that shows HRBB was not licensed to transact intrastate business
22      in California since October 2, 2008, File No. D0930318).
23             23. Citibank N.A., a Texas Corporation is believed to be located at and doing business from 100
24      Citibank Drive, San Antonio, Texas 78245. Citibank N. A. filed a Dismissal in state court case no.
25      RIC1100245 on October 4, 2013.
26             24. Abbas S. Faradjollah and (23) Sohila A. Faradjollah, husband and wife as joint tenants
27      (herein after Defendants and "trespassers") are believed to be occupying the 1404 Via Del Rio, Corona,
~~► c   California 92882. Mailing address is 2112 Wembley Lane, Corona, California 92881.



                       CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                Page 5 of 70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 6 of 76 Page ID #:6




 1           25. Frederick Richard and(24) Jeanetta Richard, husband and wife as joint tenants(herein after

 2 ~ Defendants and "trespassers") are believed to be occupying the 17201 Bluff Vista Court, Riverside,

 3   California 92503, Mailing address is 17201 Bluff Vista Court, Riverside, California 92503.

 4           26. JPMorgan Bank, N.A. is a corporation doing business in California from P.O. Box 183222,

 5 ~ ~ Columbus, Ohio,43218-3222.

 6                                         B. STATEMENT OF FACTS

 7           27. Plaintiffs were arrested, incarcerated, and later (after-the-fact) criminally chaxged over a

 8   matter by Defendants without due process oflaw, without a victim, without a crime, and without

 9   Plaintiffs ever violating any laws ofthe United States. Plaintiffs' Verified Complaint and Claims against

10   Defendants are for violations ofPlaintiffs' rights to due process oflaw, violation of Plaintiffs' Civil

11   Rights Title 42 U.S.C.A §§1981, 1983, 1985; False Imprisonment and Kidnapping of Plaintiffs with no

12   Jurisdiction which caused Personal Injury. Defendants' acts were done by Fraud and Bad Faith in

13   violation ofthe U.S. Constitution First, Fourth, Fifth, Sixth, Thirteenth, and Fourteenth Amendments; in

14   violation oflaws prohibiting Racketeering (Title 18 U.S.C.(RICO)§1961, §1962(a)(b)(c), §1963 and

15   §1964); Discrimination, Hate Crime, Bad Faith, Wire Fraud, Mail Fraud; Deprivation ofrights under

16   color Title 18 U.S.C. §§ 241 and 242; Concealment, Obstruction of Justice; Aiding and Abetting, Civil

17   Conspiracy, Denial ofIntangible rights to honest Services 18 U.S.C. § 1346; Intentional Infliction of

18   Emotional Distress; Personal Injury, violation of California Government Code § 7.14 Rights Under

19   Administrative Adjudication and Due Process; California Government Code §§11425.10-11425.60;

20   Theft, Destruction Alteration of Court Records(Penal Code § 687}; Defendants' Violation ofFederal

21   Bankruptcy Stay 11 U.S.C. §362(a), Case No. 6:11-BK-20377-DS; Double Jeopardy 42 U.S.C. § 2000

22   et seq. and Calif. Penal Code § 687; no Accounting, Continual and ongoing Trespass,Fraud and Personal

23   Injury to Plaintiffs; Quiet Title Action, 28 U.S.C. § 2409, 2410; Foreclosure, Rules of Civil Procedure

24   Rule 81 Applicability ofthe Rules in General; Removed Actions Criminal Case No.: RIF1700487, and

25   Double Jeopardy. All Defendants perpetrated these lawless acts against Plaintiffs over their real properties.

26          28. Defendants caused Plaintiffs to be falsely charged and arrested in violation of Plaintiffs'

27   process and civil rights, constitutional protected rights, and in violation of federal bankruptcy laws

28   Defendants made false statements which resulted in false charges and a false arrest against



                    CASE NO.:           VERIFIED COMPLAINT FOR DAMAGES                  Page 6 of70
      Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 7 of 76 Page ID #:7




 1   over uninvestigated allegations of a foreclosure related to Plaintiffs' two real properties in the state
 2 ~ ~ case no. RIF1700487 PEOPLE OF THE STATE OF CALIFORNIA v. JAMIE YVONNE

 3   BRUCE MACK. If the District Attorney had a problem with Plaintiffs' Chapter 7 and the bankruptcy sta;
 4   and discharge, which the state court had full knowledge, the District Attorney should have brought the issue
 5   as a civil matter. The state court had no jurisdiction. That's a federal issue under 2409 and 2410. It must b.
 6   a judicial sale by the court, and NOT by Defendants doing a foreclosure and selling the properties. Each anc
 7   every one of these defendants must explain to the court how were they able to foreclose, then sell, Plaintiffs
 8   real properties without getting a iudicial ruling from the federal court. The real properties are federal issues
 9   and must go through HUD guidelines.
10          29. The issues of ownership over the two real properties were already adjudicated in a Chapter
11   Bankruptcy Discharge Order on September 18, 2013 that entitles Plaintiffs to rightful ownership,
12   which Plaintiffs are the rightful owners.
13          30. Plaintiffs are the lawful owners ofthe subject premises, publicly located at 1404 Via Del
14   Rio, Corona California. Directors Mortgage was the original lender memorialized by the mortgage note
15   and trust deed, by way of a grant deed dated September 16, 1992. The deed was recorded in the
16   Riverside County Recorder Office, Riverside California on September 28, 1992, Document No.361869,
17   Escrow No.: R-3024-K.
18          31. Plaintiffs are the lawful owners of the subject premises, publicly located at 17201
19   Vista Court, Riverside, California. Wholesale Capital Corporation was the original lender memorials
20 'I by the mortgage note and deed, by way of a grant deed dated September 28, 2006. The deed

21   recorded in the Riverside County Recorder Office, Riverside California.
22          32. On September 28, 1992 a grant deed was recorded, Document Recording No. 361
23   granting the 1404 Via Del Rio Corona CA 92882(Corona) real property from Francis D. Cook to
24   Mack and Jamie Mack giving Plaintiffs ownership rights to the Corona property.
25          33. On September 28, 2006 a grant deed was recorded, Document Recording No. 2006-071685
26   granting the 17201 Bluff Vista Court, Riverside CA 92503 (Riverside) real property from David J.
27   Debra J Steffgen to Jamie Y. Mack giving Plaintiffs ownership rights to Riverside property.
28




                    CASE NO.:           VERIFIED COMPLAINT FOR DAMAGES                   Page 7 of70
      Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 8 of 76 Page ID #:8




 1           34. On January 7, 2008 a Notice of Default was recorded, Document Recording No. 2008-
 2   0008678 on the Riverside property stating, contact Option One Mortgage Corporation, care of
 3   Loan Servicing Corp. 2141 5th Avenue, San Diego CA 92101.
 4          35. On June 4, 2008 a Notice of Trustee Sale was recorded, Document Recording No.
 5   0302469 on the Riverside property that shows date of sale 6/23/2008.
 6          36. On June 13, 2008 a Notice of Default was recorded, Document Recording No.
 7   0324230 on the Corona property, stating: contact H & R BLOCK BANK, care of Countrywide H
 8   Loans Inc. 400 Countrywide Way,SV-35, Simi Valley, ~A 93065.
 9          37. A letter posted on Plaintiffs' Bluff Vista property from Peter Lewis of Quantum Rea
10   dated June 26, 2008 stated the Riverside property is currently owned by Option One Mortgage and
11   lawfully acquired through the foreclosure process.
12          38. On July 25, 2008 Citibank filed a lawsuit against Plaintiffs with the Riverside Sup
13   Court, Case No. RIU003962, Citibank v. Mack and gotjudgment entered on October 9, 2008.
14          39. On June 27, 2008 a Trustee's Deed Upon Sale was recorded, Document Recording
15   2008-0352977, states Citibank is the foreclosing beneficiary.
16          40. On October 14, 2008 a Notice of Trustee Sale was recorded, Document Recording No. 2008-
17   0550829 on the Corona property that shows date of sale September 17, 2008.
18          41. On April 21, 2009 a Trustee's Deed Upon Sale was recorded, Document Recording No.
19   2009-0193989 states H&R BLOCK BANK was the foreclosing beneficiary.
20          42. On June 26, 2009 HRBB filed a lawsuit against Plaintiffs with the Riverside Superior Court;
21   Case No. RIU013435, H & R Block Bank v. Mack and gotjudgment entered on August 4,2009.
22          43. On September 23, 2009 an Eviction Restoration Notice regarding the Corona property was
23   signed by Sheriffs Authorized agent M. Lucero, Badge #3443 for state court case no. RIU01345 and
24   Levying Officer File No. 2009071343.
25          44.    On January 1, 2010 Plaintiffs exhausted their administrative remedies against
26   property/bank and Citibank, the Riverside Superior Court, the Sheriff Department, and the Co
27   Recorder were all notified.
28



                    CASE NO.:         VERIFIED COMPLAINT FOR DAMAGES              Page 8 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 9 of 76 Page ID #:9




 1          45.    On March 22, 2010 Plaintiffs exhausted their administrative remedies against
 2   property/bank and H &BLOCK BANK,the Riverside Superior Court, the Sheriff Deparhnent, and
 3   County Recorder were all notified.
 4          46. On May 25, 2010 Citibank filed a lawsuit against Plaintiffs with the Riverside Superi

 5 ~ ~ Court, Case No. MVC1003065,Citibank v. Mack and got judgment entered on October 1, 2010.
 6          47. On June 7, 2010 Citibank filed a lawsuit against Plaintiffs with the Riverside Superior
 7 ~ ~ Case No. RIC10011245, Citibank v. Mack. Citibank dismissed the case on October 7, 2013.
 8          48. After Plaintiffs completed their administrative remedies on both properties, Plaintiffs filed 2
 9 (two) Complaints with the Riverside County District Attorney's Office on August 12, 2010 and August
10   17, 2010, as victims real estate mortgage fraud, for violation of California Penal Code § 115 (C.P.C. §
11   115) and civil rights violation. District Attorney Craig Johnson refused to investigate the matter.
12          49. On June 23,2011 Plaintiffs submitted a mortgage fraud complaint to the Riverside Field
13   office of the United States Department of Justice that was stamped RECENED at 1:20 pm against
14   Citibank N.A. Item no. 4 stated fraud and .the recording offalse and fraudulent documents with the
15   Riverside County Recorder that attached the Notice of Default as one of the false/fraudulent documents.
16          50. A Form 1099-A Acquisition or Abandonment of Secured Property dated 01-13-2011
17   filed with the IRS by Servicer American Home Mortgage Servicing Inc. for the Riverside property.
18   stating they acquired the property on 6-23-2008.
19          51. On March 14, 2011 a NOTICE was signed by Ron Mellfelt (not sure of spelling) of N &
20   Services that stated he came out to put sod in the yard at the Riverside property on behalf of the
21   of property, American Home Mortgage Servicing Inc.
22          52. On March 29, 2011 Plaintiffs served Honorable Judge Sherri Carter at the Californi
23   Superior Court Executive Offices with a Notice of Fraudulent Eviction Proceeding regarding thf
24   Riverside property.
25          53. On March 30,2011 Plaintiff Jamie Yvonne Mack filed a Chapter 13 bankruptcy. The
26   Chapter 13 was converted it to a Chapter 7 on May 23,2011 with the United States District Bankruptcy
27   Court, Central Division, Riverside, Case No.6-11-bk-20377-DS. Both the Corona and Riverside
28   properties were listed as assets and unsecured.



                    CASE NO.:         VERIFIED COMPLAINT FOR DAMAGES                 Page 9 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 10 of 76 Page ID #:10




 1            54. In 2012 Senator(former attorney general) Kamala Harris announced the $28 Billion Dollar
 2   Settlement from 5 major banks for wrongfully foreclosing on California Homeowners because ofthe
 3   bank's wrongful foreclosure practices in using false, fraudulent and missing documents to take California
 4   Homeowners homes from January 1, 2008 through December 31,2011.
 5           55. On Maxch 23, 2012 Plaintiffs sent Stanley Sniff, Sheriff —Coroner an Affidavit To
 6   And Desist via certified mail no. 7010 0290 0002 1530 1203 regarding both properties to prevent
 7   further injury to Plaintiffs. The Affidavit also reminded the Sheriff that Plaintiffs completed
 8   administrative process against Citibank.
 9           56. On May 25, 2012 an Eviction Restoration Notice regarding the Riverside property
10   signed by Sheriffs Authorized agent for state court case no. MVC10003065 and Levying Officer
11   No. 2012103127.
12           57. On September 18,2013, Plaintiffs received a Chapter 7 federal bankruptcy discharge order
13   dated September 18, 2013. Both properties' debt was discharged in which both properties are still under
14   the protection offederal bankruptcy law.
15           58. After the federal discharge Order, granting all ownership rights back to Plaintiffs, Plaintiffs
16   drove to El Centro in Imperial County, California on October 3,2014 to have a Correction of the Grant
17   Deed for Corona and Riverside property notarized.
18           59. While still in El Centro on October 3, 2014, Plaintiffs received aseal-stamped Certificate
19   Public Official Notary Public for Claudia I. Cruz, Corrunission No. 1944033 and Brianda
20   Commission No. 1947971.
21           60. On October 4, 2014, Plaintiffs recorded a Correction ofthe Grant Deed on the Corona
22   property for the purpose of"re-recording the grant deed that was previously recorded on 9/28/1992 to
23   add Grantee acknowledgment of grant deed as stated on the document recording page, which had
24   attached the(1) original grant deed/ legal description,(2)acknowledgment and acceptance and (3)
25   Certificate of Public Official Notary Public for Brianda Rodriguez that states, as a notary public, duly
26   appointed, commissioned and authorized by the state of California to take and certify acknowledgment
27   ofdeeds and other instruments in writing and that full faith and credit are and ought to be given to her
28   official acts.



                      CASE NO.:        VERIFIED COMPLAINT FOR DAMAGES                 Page 10 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 11 of 76 Page ID #:11




 1             61. On October 4, 2014, Plaintiffs recorded a Correction ofthe Grant Deed on the Riverside

 2   property, for the purpose of"re-recording the grant deed that was previously recorded on 9/28/          to

 3   add Grantee acknowledgment of grant deed as stated on the document recording page, which had

 4   attached the(1) original grant deed/ legal description,(2) acknowledgment and acceptance and (3)

 5   Certificate ofPublic Official Notary Public for Claudia I. Cruz that states, as a notary public, duly

 6   appointed, commissioned and authorized by the state of California to take and certify acknowledgment

 7   of deeds and other instruments in writing and that full faith and credit are and ought to be given to her

 8   official acts.

 9             62. Document # 2014-0387757 and Document # 2014-0387758(CORRECTION OF GRANT

10   DEED)for the Corona and Riverside property, both recorded on October 10, 2014,"each" included the

11   original "unaltered" grant deed attached to each document.

12             63. The Chapter 7 discharge was granted on September 18, 2013, prior to the October 10, 201

13   recording of the two Correction of grant deed(s).

14             64. On October 10, 2014, the Riverside County Recorder's Office took Plaintiffs' recording

15   feels), recorded both Correction of Grant Deed(s), and did not give Plaintiffs an "Unrecordable

16   Document Notice." However, the same day, the Riverside County Recorder's Office notified the D.A.

17   office.

18             65. On October 17, 2014, Larry W. Ward, Assessor-County Clerk-Recorder and Paul E.

19   Zellerbach District Attorney sent a Courtesy Notice to Abbas S. and Sohila A Faradjollah,

20 (Defendants/Trespassers)informing them ofthe recording ofthe Correction of Grant Deed on the

21   Corona property.

22             66. On October 22, 2015, Kelly Nava(Nava) did an Initial Narrative that was part of the

23   criminal case stating Plaintiffs were the previous owners ofthe property but lost it to foreclosure.

24   Nava's Narrative also stated,"I attempted to locate Plaintiffs for a statement." "They do not live at any

25   oftheir previous addresses listed for the past 10 years."

26             67. On February 7, 2017, the D.A. office filed a Felony Complaint against Plainriffs, Case No.

27   RIF1700487, THE PEOPLE OF THE STATE OF CALIFORNIA v. JAMIE YVONNE MACK and

28   BRUCE MACK for violation of C.P.C. § 115 a felony. The complaint states "Defendants did willfully,



                      CASE NO.:         VERIFIED COMPLAINT FOR DAMAGES               Page 11 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 12 of 76 Page ID #:12




 1   I unlawfully, and knowingly procure and offer a false and forged instrument." The Felony Complaint also

 2   stated, Cash Bond Recommended: $165,000.00 each Defendant. Warrant.
 3           68. On February 9, 2017,2 Declarations done by Kelly Nava was filed that stated,"the
 4   I Defendants were previous owners of the property and lost it in foreclosure."
 5           69. On July 21, 2017, Plaintiffs reached out to Defendant, District Attorney Craig Johnson
 6 (Johnson) a third time to inform him that Plaintiffs had evidence that H & R BLOCK BANK and

 7   Citibank, N. A. did not foreclose.
 8           70. On August 11, 2017,Plaintiffs received a letter from the United States District Bankruptcy
 9   Court regarding Plaintiffs' request to move forward in obtaining un-administered assets in Plaintiffs'
10   Chapter 7 discharged case no. 6:11-bk-20377-DS,in which the Corona and Riverside properties were
11   part of those assets.
12           71. On August 24, 2017, Plaintiffs were arrested by four Riverside Police Officers: Officer Evan
13   Wright, Badge # 1453, Officer Christopher Carmona, Badge No.1781, Officer S. Macias(maybe known
14   as Daniel Macias), Badge # 1434 and Officer Jeffrey Pap, Badge # 1668 all from the Riverside Police
15   Department.
16           72. On August 24, 2017, the arresting Officers stated they had arrest warrants for Plaintiffs'
17   arrests, but failed to provide ones when demanded by Plaintiffs.
18           73. Plaintiff Bruce Mack was booked on August 24,2017, housed and given a bed on Friday
19   August 25, 2017.
20           74. Plaintiff Jamie Yvonne Mack had to be taken to emergency twice, once on August 24th and
21   second time on August 25, 2017 because of elevated blood pressure due to the trauma stress ofthe
22   arrest. Plaintiff Jamie Yvonne Mack was finally booked on August 26,2017, housed and given a bed
23   Saturday August 26,2017.
24          75. On August 28, 2017 at the video arraignment, Plaintiffs, Plaintiffs were denied O.R. and a
25   reduction in bail for afor afirst-time offense, non-violent crime.
26          76. On August 28, 2017, Plaintiff Jamie Yvonne Mack was Fed-Kicked pursuant to Federal
27   Court Order SA-CV-93808 AHS(RWRx).
28




                    CASE NO.:         VERIFIED COMPLAINT FOR DAMAGES                  Page 12 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 13 of 76 Page ID #:13




 1           77. On August 31, 2017 Plaintiff Bruce Mack was released on a $13,215.00 Bond,see
 2   Promissory Note attached to Exhibit List.
 3           78. Once released from jail, Plaintiffs contacted the court, the public defender's office, the
 4   District Attorney's Office, the Riverside Police Department, Officer Rossi at the Riverside Police
 5   Department and Detective Sevilla (not sure of spelling) at the Riverside Police Department, and
 6   discovered that the agencies had no copy of an arrest warrant.
 7                        C. STATEMENT OF THE CASE F.R.C.P. RULES 7 and 8
 8           79. This case involves both Plaintiffs' real properties located at 1404 Via Del Rio, Corona, and
 9   17201 Bluff Vista Court, Riverside. Each and every one ofthese Defendants have knowledge that they
10   violated the bankruptcy stay, violated Plaintiffs' civil rights, violated federal bankruptcy discharge order;
11   made false statements which resulted in false charges and a false arrest against PLAINTIFFS.
12   Defendant Sheriff Department investigated allegations of a false arrest and foreclosure over
13   PLAINTIFFS' two real properties in the state court case no. RIF1700487,PEOPLE OF THE STATE
14   OF CALIFORNIA v. JAMIE YVONNE MACK,BRUCE MACK that was filed on February 7,2017 by
15   SWTLE,involving Defendants, Craig Johnson, Michael Hestrin, Maureen DuMouchel, Kelly Nava and
16   Cheryl Parker, employed with the Riverside District Attorney Office. These Defendants had no
17   jurisdiction to violate the bankruptcy stay when the Plaintiffs had a Discharge against all parties known
18   and unknown and DOE Defendants.
19           80. The D.A.'s criminal charges are unsubstantiated and circumstantial as there has been
20   crime committed by Plaintiffs. Evidence was concealed in the criminal case of the two prior complain
21   of real estate mortgage fraud, civil rights violation and violation of C.P.C. § 115 filed by Plaintiffs i
22   2010 that the D.A. failed to investigate prior to filing the state criminal charges against Plaintiffs. Eac
23   and every one of these defendants is violating prohibitions against DOUBLE JEOPARDY. Ifthe Distri~
24   Attorney had a problem with the Chapter 7 and the bankruptcy stay and dischazge, which the state court h~
25   full knowledge, it should have been brought as a civil matter. The state court had no jurisdiction
26   Foreclosure is a federal issue under 2409 and 2410. It must be a judicial sale by the court, and NOT b
27   defendants doing a foreclosure and selling the properties. Each and every one of these defendants mu;
28   explain to the court how were they able to foreclose, then sell Plaintiffs' real properties without getting



                    CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                 Page 13 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 14 of 76 Page ID #:14




1    judicial ruling from the federal court. The real properties are federal issues, and must go through
2    guidelines. Defendants conspired with each other to carry out their plan to steal Plaintiffs' real properties
 3   deny Plaintiffs due process oflaw.
 4           81. Defendants The State of California (the State) and the Riverside County District
 5   Office (D.A.) acted on behalf of defendant mortgage companies, and bought 2 Counts of felony charge
 6   against Plaintiff Bruce Mack and 5 Counts of felony charges against Plaintiff Jamie Yvonne Mack fc
 7   violation of C.P.C. § 115. These false charges were based on uninvestigated allegations of a foreclosure
 8   concealing exculpatory evidence obtained in 2010 by Plaintiffs and ignoring jurisdiction in violation of
 9   federal bankruptcy discharge order giving Plaintiffs ownership rights/interest over the Corona an
10   Riverside property.
11           82. Plaintiffs purchased the 1404 Via Del Rio, Corona California property on September 1
12   1992 with Directors Mortgage, and became the lawful owners memorialized by the mortgage note,
13   grant deed dated September 16, 1992; and became the lawful owners of the 17201 Bluff Vista C~
14   Riverside, California property on September 28, 2006 with Wholesale Capital Corporation memorial
15   by the mortgage note, and grant deed dated September 28, 2006, as set out in the Disclaimer of Inb
16   in Real Property — 28 U.S.C. 2410 and applicable state court laws, including but not limited to l
17   Code § 2924a and federal guidelines of the Deparhnent of Housing and Urban Development, Fec
18   Housing Commissioner.
19           83. Plaintiffs Bruce and Jamie Mack are the lawful owners of the subject premises, publi
20   located at 17201 Bluff Vista Court, Riverside, California. Wholesale Capital Corporation was
21   original lender memorialized by the mortgage note and deed, by way of a grant deed dated
22   28, 2006. The deed was recorded in the Riverside County Recorder Office, Riverside California.
23           84. On September 18, 2013, Plaintiffs received a Chapter 7 federal bankruptcy discharge order
24   dated September 18, 2013. Both properties debt was discharged in which both properties are still under
25   the protection of federal bankruptcy law.
26          85. Each and every one ofthese Defendants had knowledge of the Chapter 7 Bankruptcy
27   discharge, and are still coming after Plaintiffs and harassing them. The Sheriff has gotten involved in
28   getting false charges against Plaintiffs over their real properties. NONE ofthe Defendants filed a Claim



                    CASE NO.:           VERIFIED COMPLAINT FOR DAMAGES                   Page 14 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 15 of 76 Page ID #:15




 1     with the Chapter 7 bankruptcy court. All ofthe Defendants were listed, none filed Claims with the

 2     bankruptcy court, and have no standing. The mortgage companies Plaintiffs made their loan with

 3     claimed that they sold Plaintiffs' property, when Plaintiffs never made loans with those mortgage

 4     companies. Plaintiffs are requesting an accounting to produce all loan documents.

 5                                      H & R BLOCK BANK'S Involvement:

 6            86. On September 28, 1992 a grant deed was recorded, Document Recording No. 361

 7     granting the 1404 Via Del Rio Corona CA 92882 (Corona) property from Francis D. Cook to

 8     Mack and Jamie Mack giving Plaintiffs ownership rights to the Corona property.

 9            87. On June 26, 2009 HRBB filed a lawsuit against Plaintiffs and got judgment entered c

10     August 4, 2009. California Commercial Code § 3301 clearly identifies the person entitled to enforce

11     security interest for initiating a foreclosure sale under a deed of trust; and a person who is not identi

12     does not have the right to enforce such a interest.

13            88. On March 22, 2010 Plaintiffs completed their administrative issues against the H &

14    BANK and the Riverside Superior Court, the Sheriff Department, and the County Recorder were al

15    notified. H & R Block Bank had no right, title, or interest in the 1404 Via Del Rio, Corona property.

16            89. Plaintiffs exhausted their administrative remedies for H & R Block Bank on March 22,2010

17    as evidenced by the Notary Affidavit ofNon-Response. Plaintiffs contacted H & R Block Bank

18    numerous times to provide written evidence of proof ofclaim and right to foreclose, HRBB failed to

19    respond or provide any evidence to the contrary.

20            90. A copy ofthe Notary Affidavit ofNon-Response was sent to H & R Block Bank dated March

21    22,2010, certified mail no. 7009 3410 0000 9923 5448. H & R Block Bank did not respond.

22            91. A copy ofthe Notary Affidavit ofNon-Response for H & R Block Bank was sent to the

23    Riverside Superior Court, certified mail no. 7009 3410 0000 9923 5455; the Riverside County Recorder,

24    certified mail no. 7009 3410 0000 9923 9200 and the Riverside County Sheriffs Department, certified

25    mail no. 7009 3410 0000 9923 9193 in March 2010 as well.

26            92. After Plaintiffs exhausted their administrative remedies on both properties, Plaintiffs filed a

27    third Complaints with the Riverside County District Attorney's Office on July 21, 2017 listing both the

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                     CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                  Page 15 of70
      Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 16 of 76 Page ID #:16




  1   Corona and Riverside property as victims of real estate mortgage fraud and civil rights violation, and

  2   Defendants, the D.A. and Johnson refused to investigate the matter.

  3           93. On June 30,2017 Jamie Mack spoke with a representative of the Federal Trade Commission

  4   and the Office ofthe Comptroller of Currency and they both informed her that H & R Block Bank was

  5   not in the chain of banks for the mortgage loan account on the Via Del Rio property.

  6            94. On or about July 5, 2017 Plaintiffs was informed by the California Secretary of State that

  7   & R Block Bank filed a Certificate of Surrender of Right To Transact Interstate Business for California

  8   on October 2, 2008. H & R Block Bank was not licensed in California at the time offoreclosure.

  9            95. On July 5, 2017, Plaintiffs was informed by the Consumer Financial Protection Bureau

10    other government agencies that the loan account for the 1404 Via Del Rio, Corona property did not

11    H & R Block Bank in the chain of banks. H & R Block Bank unlawfully stole Plaintiffs property. Tha

12    is fraud, unjust enrichment and in violation of Plaintiffs constitutional rights and civil rights.

13             96. This means the Notice of Default filed into the Riverside County Recorder, Document N

14    2008-0324230 on 6/13/2008 and Trustees Deed Upon Sale, Document No. 2009-0193989

15    4/21/2009 are false and forged documents. The fact that H & R Block Bank didn't foreclose in 2009,

16    documents are a violation of C.P.C. § 115.

17                             Defendant Citibank, N. A.'s (Citibank)Involvement:

18             97. On September 28, 2006 a grant deed was recorded, Document Recording No.

19    0716857 granting the 17201 Bluff Vista Court, Riverside CA 92503 (Riverside) property from David J.

20    and Debra J Steffgen to Jamie Y. Mack giving Plaintiffs ownership rights to Riverside property.

21             98. On July 25, 2008 Citibank filed a lawsuit and got judgment entered on October 9, 2008.

22    Citibank had no right, title, or interest in the 17201 Bluff Vista Court, Riverside property.

23             99. On June 26, 2009 HRBB filed a lawsuit against Plaintiffs and got judgment entered

24    August 4, 2009. California Commercial Code § 3301 cleaxly identifies the person entitled to enforce

25    security interest for initiating a foreclosure sale under a deed of trust; and a person who is not

26 ~ does not have the right to enforce such a interest.

27

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                     CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                  Page 16 of70
      Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 17 of 76 Page ID #:17




  1            100.   On January 1, 2010 Plaintiffs completed their administrative process against
 2     property/bank and Citibank, the Riverside Superior Court, the Sheriff Department, and the
  3    Recorder were all notified.
 4             101. Plaintiffs received a Letter dated April 19, 2010 from Attorney Barry D. Hovis of M
 5     Peeler &Garrett LLP that stated Citibank has no financial relationship of any kind or nature wi
 6     Plaintiffs. Evidence shows Citibank N. A. didn't foreclose in 2008.
 7             102. Since Citibank didn't have any financial relationship with Plaintiffs, then Citibank had
 8     lawful claim to have sued for possession and received a judgment. The Notice of Default filed into
 9     Riverside County Recorder, Document No. 2008-0008678 on 1/7/2008 and Trustees Deed Upon S
10     Document No. 2008-0352977 recorded 6/27/2008 are false and forged documents. The fact that Citib
11     didn't foreclose in 2008, means the documents violated C.P.C. § 115.
12             103. On May 25, 2010 Citibank filed a lawsuit against Plaintiffs and got judgment entered
13     October 1, 2010. California Commercial Code § 3301 clearly identifies the person entitled to enforce
14    security interest for initiating a foreclosure sale under a deed of trust; and a person who is not
15     does not have the right to enforce such a interest.
16             104. Plaintiffs exhausted their administrative remedies for Citibank on January 1, 2010 as
17    evidenced by the Notary Affidavit ofNon-Response. Plaintiffs contacted Citibank N. A. numerous
18    times to provide written evidence of proofofclaim and right to foreclose, Citibank failed to
19    respond/provide any evidence.
20            105. A copy ofthe Affidavit of Non- Response dated January 1, 2010 was sent to Citibank N.
21    A., certified mail no. 7009 1680 0001 7850 4444. Citibank did not respond. See Exhibit A -Notary
22    Affidavit ofNon-Response of Exhibit List filed concurrently with this complaint.
23            106. A copy of the Affidavit of Non- Response for Citibank N. A., was sent to the Riverside
24    Superior Court, certified mail no. 7009 1680 0001 7850 4383; the Riverside County Recorder, certified
25    mail no. 7009 1680 0001 7850 4420 and the Riverside County Sheriffs Department, certified mail no.
26 ~ ~ 7009 1680 0001 7850 4437 in January 2010, as well.
27            107. On June 7, 2010 Citibank filed a lawsuit against Plaintiffs with the Riverside S
      ~ Court, Case No. RIC10011245, Citibank v. Mack. Citibank dismissed the case on October 7, 2013.



                      CASE NO.:         VERIFIED COMPLAINT FOR DAMAGES                Page 17 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 18 of 76 Page ID #:18




 1   Both H & R Block Bank and Citibank- committed fraud by obtaining a judgment in their favor fo:
 2   financial gain and unjust enrichment that has and still is causing injury to Plaintiffs by the filing of falsf
 3   charges and an illegal arrest.
 4           108. Both banks(H & R Block Bank and Citibank N. A.) were notified ofthe bankruptcy filing
 5   by Plaintiffs and the Bankruptcy Noticing Center, CR# 29063938 for H & R Block Bank and CR#
 6   29341394 for Citibank N.A. as evidenced by the Chapter 7 Trustee's CERTIFICATE OF NOTICE,
 7   Docket No. 106 filed September 20,2013 with the Riverside County Bankruptcy Court. Both banks
 8   failed to file a counterclaim, object or contest the bankruptcy and both properties are still under the
 9   protection of federal bankruptcy law. See Exhibit List A —Trustee Certificate listed on Exhibit List
10   concurrently with this complaint.
11           109. The fact that a March 14, 2011 Notice was signed by a representative acting on behalf
12   American Home Mortgage Servicing Inc(a servicer) stating it owned the Riverside property is on-goi
13   evidence of this fraud, racketeering and scheme by defendants to deprive Plaintiffs of rights afforded
14   them.
15           110. Based on fraud committed by entities H & R Block Bank and Citibank, the following
16   recorded documents that are still listed in public record are in violation of C.P.C. § 115:
17           1 11. On January 7, 2008 a Notice of Default was recorded, Document Recording No. 2008-
18   0008678 on the Riverside property stating, contact Option One Mortgage Corporation, care of Quality
19   Loan Servicing Corp. 2141 5`'' Avenue, San Diego CA 92101.
20           1 12. On June 4, 2008 a Notice of Trustee Sale was recorded, Document Recording No. 2008
21   0302469 on the Riverside property that shows date of sale 6/23/2008. This is a false document
22   Evidence obtained in June of2017 shows Citibank did not foreclose.
23           1 13. On June 13, 2008 a Notice of Default was recorded, Document Recording No. 2008
24   0324230 on the Corona property, stating: contact H & R BLOCK BANK, care of Countrywide Homy
25   Loans Inc. 400 Countrywide Way, SV-35, Simi Valley, CA 93065.
26           114, A letter posted on Plaintiffs Bluff Vista property from Peter Lewis of Quantum Realtor
27   dated June 26, 2008 stated the Riverside property is currently owned by Option One Mortgage and wa
28   lawfully acquired through the foreclosure process. This is fraud, perjury, conspiracy and racketeering



                   CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                  Page 18 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 19 of 76 Page ID #:19




 1   Peter Lewis claimed to represent Citibank in state court case no. MVC10003065. Evidence obtained in
 2 ~ June of 2017 shows Citibank did not foreclose.
 3            1 15. On June 27, 2008 a Trustee's Deed Upon Sale was recorded, Document Recording N~
 4   2008-0352977, states Citibank is the foreclosing beneficiary. This is a false document. Evi
 5   obtained in June of2017 shows Citibank did not foreclose.
 6           116. On October 14, 2008 a Notice of Trustee Sale was recorded, Document Recording N
 7   2008-0550829 on the Corona property that shows date of sale September 17, 2008. This is a
 8   document. Evidence obtained in June of2017 shows H & R BLOCK BANK did not foreclose.
 9           1 17. On April 21, 2009 a Trustee's Deed Upon Sale was recorded, Document Recording
10   2009-0193989 states H&R BLOCK BANK was the foreclosing beneficiary. Evidence obtained in
11   of2017 shows H & R BLOCK BANK did not foreclose.
12           1 18. On September 23, 2009 an Eviction Restoration Notice regarding the Corona property
13   signed by Sheriffs Authorized agent M. Lucero, Badge #3443 for state court case no. RIU01345
14   Levying Officer File No. 2009071343. The Sheriff was part of the fraud. This is a false document
15   violation of C.P.C. § 115. This is fraud, conspiracy, racketeering and theft.
16           1 19. Based on the above public recordings that are still in public record, they are
17   Plaintiffs legal title to the properties and causing a cloud on Plaintiffs title, and Trespassers,
18   Faradjollahs and Richards appear to be involved in the fraud and Plaintiffs have suffered and
19   continuing to suffer damages as stated herein and in amounts to be proven at trial. As a result
20   Defendants conduct, Plaintiffs have incurred and are continuing to incur expenses for such fraud <
21   slander until Plaintiffs are made whole.
22           120. Defendants H & R Block Bank and Citibank's fraud was not investigated or investigated
23   Defendants, the State, HUD,Hestrin, Johnson, the D.A., Nava, Parker, the Sheriffs, the PD or Becerra
24   Plaintiffs detriment that caused and is still causing injury to Plaintiffs by the loss of the properties, fa]
25   felony charges, false arrest and harassment/embarrassment, mental anguish, emotional distre
26   diminishment of quality of life, restriction of civil liberties due to fraud and the continued state coi
27   ordered appearances with the state court lacking jurisdiction over Plaintiffs as a direct result
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                    CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                   Page 19 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 20 of 76 Page ID #:20




 1   Defendants' illegal acts and making false statements about Plaintiffs' real properties. As we

 2 ~ defendants are in violation of Chapter 7 bankruptcy stay and discharge.

 3                   Defendant, Housing and Urban Development's(HUD)Involvement:

 4           121. Both properties were under federal guidelines of Defendant: the Department of

 5   and Urban Development (HUD), and are listed on Plaintiffs HUD 1 Settlement Statements in

 6   Secretary Ben Carson of HUD was notified on March 23, 20~t18 and Senator Dianne Feinstein rec

 7   a Letter dated March 28, 2018 regarding Mortgage related HUD violations and civil rights vio

 8   regarding the real properties in state criminal case no. RIF1700487.

 9           122. HUD guidelines were not followed as neither bank got permission to foreclose from HUD

10   and without complying with HUD guidelines under Notice of Foreclosure(24 CFR 203.356) in

11   providing written notice to HUD that foreclosure had been instituted. Verify with HUD at

12   https://www.hud.gov/sites/documents/43304C2HSGH.PDF.

13          123. This is a government problem as HUD federal guidelines were not followed (mainly HUD

14   Regulation 24 CFR 203.356 as no title evidence reflecting ownership was sent to HUD)and HUD is a

15   government agency. Verify HUD 4330.1 Chapter 9 Foreclosure And Acquisition of The Property at

16   https://www.hud.~ov/sites/documents/43301C9HSGH.PDF to download PDF.

17          124. HUD failed to address any of Plaintiffs' concerns and sent a response letter to S

18   Dianne Feinstein received at her San Francisco Office on August 23, 2018 that had a 32 page list

19   HUD agencies attached for Plaintiffs to contact.

20          125. The issues of ownership over the two properties were already adjudicated in a Chapter

21   Bankruptcy Discharge Order on September 18, 2013 that entitles Plaintiffs to rightful ownership, of

22   which Plaintiffs are the rightful owners as evidenced by Document Recording No. 361867 granting the

23   1404 Via Del Rio Corona CA 92882(Corona) property from Francis D. Cook to Bruce Mack and Jamie

24   Mack giving Plaintiffs ownership rights to the Corona property; and Document Recording No. 2006-

25   0716857 granting the 17201 Bluff Vista Court, Riverside CA 92503 (Riverside) property from David J.

26   and Debra J Steffgen to Jamie Y. Mack giving Plaintiffs ownership rights to the Riverside property.

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                   CASE NO.:         VERIFIED COMPLAINT FOR DAMAGES               Page 20 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 21 of 76 Page ID #:21




 1             126. On September 28, 1992 a grant deed was recorded, Document Recording No. 361
 2 ~ ~ granting the 1404 Via Del Rio Corona CA 92882 (Corona) property from Francis D. Cook to
 3     Mack and Jamie Mack giving Plaintiffs ownership rights to the Corona property.
 4             127. On September 28, 2006 a grant deed was recorded, Document Recording No. 2006
 5     0716857 granting the 17201 Bluff Vista Court, Riverside CA 92503 (Riverside) property from David J

 6     and Debra J Steffgen to Jamie Y. Mack, and giving Plaintiffs ownership rights to Riverside property.
 7             128. Document # 2014-0387757 and Document # 2014-0387758(CORRECTION OF GRANT
 8     DEED)for the Corona and Riverside property referenced in the state case no. RIF1700487, were both
 9     recorded on October 10, 2014,"each" included the original "unaltered" grant deed attached to each
10     document.
11             129. Neither Defendant HRBB or Citibank had standing to foreclose and take possession ofthe
12     Corona or Riverside properties because enclosed evidence shows defendants did not foreclose and
13     Plaintiffs never got notice from original mortgage company Directors Mortgage or Wholesale Capital
14     that HRBB or Citibank N. A. took over the loan. This is fraud and deception for personal gain as both
15     defendants acted in bad faith, deceived the state court, Plaintiffs and the public.
16            130.    Defendants the state court, the D.A., Hestrin, Johnson, DuMouchel, Judges:
17     Hernandez, Fisher, Diaz and retired Judges: Pfeiffer and Brock and all defendants involved with s~
18     court case RIF1700487 had no cause or authority to move the criminal case forward, ignore jurisdicti

19     and fabricate criminal charges against Plaintiff over what should have been a civil matter if any of
20     state government employees had a problem with Plaintiffs' Chapter 7.

21            131. On June 23, 2011 Plaintiffs submitted a fraud complaint to the Riverside Field office ofthe
22     United States Department of Justice that was stamped RECEIVED at 1:20 pm against Citibank N.A. in

23     which item no. 4 stated fraud and the recording of false and fraudulent documents with the Riverside

24     County Recorder that attached the Notice of Default as one ofthe false/fraudulent documents. The

25    Plaintiffs have received no help as the date of this filing.

26            132. Plaintiffs' injuries are on-going and continuous due to the fact that Citibank N. A. filed

27    Dismissal of Case No. RIC10003065 with the state court on October 7, 2013. As of December 19, 201

28    Plaintiffs are still named on page 41 of the vexatious litigant list for Case No. RIC10011245 with



                     CASE NO.:           VERIFIED COMPLAINT FOR DAMAGES                 Page 21 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 22 of 76 Page ID #:22




 1     Riverside Superior Court since February 16, 2011, see Exhibit List A -November 1, 2018 Vexatic

 2     Litigant List filed concurrently with this complaint.

 3                                           Michael Hestrin's Involvement:

 4             133. If Defendant, Hestrin would have had the D.A. investigate or investigate Plaintiffs r

 5     complaints in 2010, Hestrin and the D.A. would have discovered the same evidence Plaintiffs obta.inE

 6    that neither bank foreclosed, that several state agencies such as the Consumer Financial Protecti

 7    Bureau and Federal Trade Commission stated neither bank was in the chain of banks regarding t

 8     mortgage accounts; and that the Corona properly was wrongfully taken due to fraud and an ille€

 9    foreclosure/eviction on September 23, 2009 by entity H & R BLOCK BANK in state case r.

10    RIU013435 because evidence shows H & R BLOCK BANK didn't foreclose.

11            134. Hestrin failed to have the D.A. investigate the foreclosure prior to filing the criminal chi

i2    on February 7, 2017 and before filing additional charges against Plaintiffs on April 15, 2018 given

13    facts above and stated herein.

14            135. Defendants Hestrin, the D.A. and all named Defendants knew or should have known

15    2012 about the $28 Billion Dollar Settlement obtained from former Attorney General Kamala Hai

16    from 5 major banks for wrongfully foreclosing on California Homeowners homes from January 1, 2001

17    through December 31, 2011. Both Plaintiffs' properties were foreclosed stolen in that timeframe

18    Citibank N. A. was one of the banks and H & R BLOCK BANK surrendered its right to transac

19    interstate business on October 2, 2008. The attached Exhibit List shows neither bank foreclosed.

20            136. The fact that Hestrin and the D.A. failed to investigate or investigate Plaintiffs

21    complaints in 2010 caused Plaintiffs' loss and injury and said injury is ongoing, because of the filing

22    the felony charges and the fact that Erin Donovan, attorney for Citibank N. A. had Plaintiffs deem

23    vexatious litigants on February 16, 2011, Case No. RIC10003065 with the state court and Plaintiffs

24    still listed on the statewide Vexatious Litigant List as of the date of this filing, even though Citiba

25    dismissed their case. But or Defendants' failures to investigate, Plaintiffs never would have suffer

26    injury, false charges, false arrest, false incarceration, and loss.

27            137. If Hestrin and the D.A. would have investigated or investigated Plaintiffs' two complain

28    in 2010, the D.A. would have discovered that the Riverside property was wrongfully taken due to



                     CASE NO.:           VERIFIED COMPLAINT FOR DAMAGES               Page 22 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 23 of 76 Page ID #:23




 1   and an illegal foreclosure/eviction on May 25, 2012 by entity Citibank N. A. that filed a dismissal is
 2   state court on October 7, 2013 for case no. RIC10011245 and that according to Fraud Investigator Lesli
 3   Thomas for Citibank, who researched Plaintiffs' loan account, Plaintiffs discovered due to those finding
 4   on October 21, 2017, Citibank didn't foreclose.
 5           138. If Hestrin, the D.A. or Nava or Parker would have investigated Plaintiffs' prior claims
 6 "or" Plaintiffs' claims prior to releasing Defendants' felony charges) and findings, all would h~
 7   discovered the fraud of the following recorded documents by Defendants and all those in concert
 8   conspiracy acting on behalf of H & R Block Bank and Citibank, N.A., which caused the following fa
 9   documents and fake deeds to be recorded in public record against the Plaintiffs' real properties
10   violation of California Penal Code § 115.
11           139. On January 7, 2008 a Notice of Default was recorded, Document Recording No. 2(
12   0008678 on the Riverside property stating, contact Option One Mortgage Corporation, care of Qua
13   Loan Servicing Corp. 2141 5th Avenue, San Diego CA 92101.
14          140. On January 7, 2008 -Notice of Default, Document Recording No. 2008-0008678 on
15   Riverside property. This is a false document in violation of California Penal Code § 115 bec~
16   Citibank didn't foreclose.
17          141. On June 4, 2008 a Notice of Trustee Sale was recorded, Document Recording No. 2(
18   0302469 on the Riverside property that shows date of sale 6/23/2008.
19          142. On June 4, 2008 -Notice of Trustee Sale, Document Recording No. 2008-0302469 on
20   Riverside property that shows date of sale 6/23/2008. This is a false document, because a letter poste
21   on Plaintiffs' Bluff Vista property from Quantum Realtors dated June 26, 2008 stated the Riverside
22   property is currently owned by Option One Mortgage and was Lawfully acquired through the foreclosure
23   process. This is a false document in violation of California Penal Code § 115 because Citibank didn'
24   foreclose.
25          143. On June 13, 2008 a Notice of Default was recorded, Document Recording No.
26   0324230 on the Corona property stating, contact: H & R BLOCK BANK, care of Countrywide
27   Loans Inc. 400 Countrywide Way,SV-35, Simi Valley, CA 93065.




                   CASE NO.:         VERIFIED COMPLAINT FOR DAMAGES                Page 23 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 24 of 76 Page ID #:24




 1           144. On June 13, 2008 —Notice of Default, Document Recording No. 2008-0324230 on

 2   Corona property. This is a false document in violation of California Penal Code § 115 because H &

 3   BLOCK BANK didn't foreclose.

 4           145. On June 27, 2008 a Trustee's Deed Upon Sale was recorded, Document Recording

 5   2008-0352977, states Citibank is the foreclosing beneficiary.

 6           146. On June 27, 2008 -Trustee's Deed Upon Sale, Document Recording No. 2008-0352977

 7   states Citibank is the foreclosing beneficiary. This is a false document in violation of California

 8   Code § 115 because Citibank didn't foreclose.

 9           147. On August 18, 2008 —Corporation Assignment of Deed of Trust, Document Recording

10   2008-0455015 that grants, assigns and transfers to H & R BLOCK BANK all beneficial interest

11   Deed of Trust dated October 31, 2006. This is a fake deed in violation of California Penal Code § 11_`

12 I ! because H & R Block Bank didn't foreclose.

13           148. On October 14, 2008 a Notice of Trustee Sale was recorded, Document Recording No.

14   2008-0550829 on the Corona property that shows date of sale September 17, 2008.

15           149. On October 14, 2008 -Notice of Trustee Sale, Document Recording No. 2008-0550829

16   the Corona property that shows date of sale September 17, 2008. This is a false document in violation

17   California Penal Code § 115 because H & R BLOCK wasn't licensed in California at the time of

18   recording and H & R BLOCK BANK didn't foreclose.

19          150. On April 21, 2009 a Trustee's Deed Upon Sale was recorded, Document Recording

20   2009-0193989 states H&R BLOCK BANK was the foreclosing beneficiary.

21           151. On April 21, 2009 -Trustee's Deed Upon Sale, Document Recording No. 2009-019398

22   recorded on the Corona property that states H&R BLOCK BANK was the foreclosing beneficiary.

23   is a false document in violation of C.P.C. § 115 because H & R BLOCK wasn't licensed in California

24   the time ofthe recording and H & R BLOCK BANK didn't foreclose.

25          152. On December 11, 2009 —Grant Deed ,Document Recording No. 2009-0637857

26   on the Corona property that states H & R BLOCK BANK grants to Abbas S. Faradjollah and Sohila

27   Faradjollah, husband and wife and Abraham Abdi a single man as joint tenants. This is a fake deed ir.

28



                   CASE NO.:         VERIFIED COMPLAINT FOR DAMAGES                Page 24 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 25 of 76 Page ID #:25




 1   violation of C.P.C. § 115 because of fraud that also caused other false recordings in the county
 2   ~ against the Corona property.
 3           153. On July 24, 2012 —Grant Deed, Document Recording No. 2012-0346115 recorded on
 4   Riverside property states Citibank, N. A., AS TRUSTEE FOR MERRILL LYNCH MOR'
 5 I I INVESTORS TRUST MORTGAGE LOAN ASSET-BACKED SECURITES SERIES 2007-HE

 6   to SCOTT JONES, A MARRIED MAN the described real property. Citibank bank didn't foreclose
 7   dismissed the RIC10011245 state case. This is a fake deed in violation of C.P.C. § 115 because the
 8   didn't foreclose and neither did Citibank.
 9           154. On December 26, 2012 Scott Jones caused the Riverside property to be grant deeded
10   Walter and Tourmaline Segura joint tenancy, Document Recording No. 2012-0630133. This is a
11   deed in violation of C.P.C. § 115 because of fraud that also caused other false recordings in the
12   records against the Riverside property.
13           155. All listed defendants are in violation ofthe federal bankruptcy stay based on fraud, and the
14   fact that both defendants H & R Block Bank and Citibank had no authority or standing to do what they
15   did and have judgment entered in their favor in the various courts and have the properties sold to
16   defendant/trespasser occupants the Faradjollahs and the Richards. The judgments are void now for then,
17   because all transfers/sales based on fraud, are invalid under California Law.
18                                         Craig Johnson's Involvement:
19           156. Defendant, Craig Johnson received exculpatory evidence in Plaintiffs two prior complaints
20   2010, prior to any of the Reports, Initial Narratives made by Defendant Nava or Forensic Docun
21   Examiner's Report made by Defendant Parker employed with Defendant D.A. and another in 2017
22   evidence attached that neither bank(H & R Block Bank and Citibank N.A.)foreclosed. Johnson sat
23   by while Plaintiffs were arrested, imprisoned and their civil rights violated in the D.A.'s organ
24   scheme (felony complaint and felony charges) in collusion with the state and state court and
25   defendants involved in the state court case to deprive Plaintiffs of their rights and civil liberties in v~
26   seems to be a hate crime against Plaintiffs.
27

28




                    CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                  Page 25 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 26 of 76 Page ID #:26




 1           157. Johnson's concealment of such exculpatory evidence has caused and is continuing to
 2   ~ Plaintiffs injury due to manufactured charges, having the state case continue without jurisdiction
 3   ~ Plaintiffs in conspiracy with defendants, the D.A., DuMouchel, Nava, Parker, the state court and PD.
 4           158. Johnson is knowingly causing Plaintiffs on-going injury by not providing that exculpatory
 5   evidence to DuMouchel due to the fact that Plaintiffs reached out to Defendant District Attorney Craig
 6   Johnson three times to investigate the foreclosure and violation of C.P.C. § 115 and that exonerating
 7   evidence was withheld from the state case # RIF1700487. This is a violation ofPlaintiffs civil rights and
 8   right to due process.
 9           159. If Defendant, Johnson would have investigated Plaintiffs two complaints in 2010
10   investigated the foreclosure prior to filing the February 7, 2017 felony complaint against Plaintiff
11   Johnson, the D.A., Hestrin, DuMouchel and all defendants involved in the state case no. RIF170048'
12   would have discovered a Form 1099-A Acquisition or Abandonment of Secured Property dated 01-13
13   2011 was filed with the IRS by Servicer, American Home Mortgage Servicing Inc. for the Riversid
14   property, stating they acquired the property 6-23-2008.
15           160. The fact that 1099s were filed with the IRS, regarding the foreclosure of the Corona
16   Riverside properties by other entities other than Defendants HRBB and Citibank is evidence o
17   Defendants' conspiracy, fraud and racketeering.         The fake deeds, false filing and recording o
18   foreclosing documents by both named defendants is what all named Defendants relied on to all do wha
19   they did in bringing felony charges against Plaintiffs in a court that had no jurisdiction, over a matte:
20   that was civil and NOT criminal.
21           161. On March 29, 2011 Plaintiffs served Defendant, the Court c/o: Honorable Judge
22   Carter at the California Superior Court Executive Offices with a Notice of Fraudulent
23   Proceeding regarding the Riverside property but the court has not responded.
24           162. If Johnson would have investigated Plaintiffs two complaints in 2010, the D.A. could
25   discovered that Plaintiffs did not lose the property to foreclosure and that all the foreclosing document;
26   recorded in public record are fraudulent and in violation of C.P.C. § 115 because Citibank and H & R
27   Block Bank foreclosure on Plaintiffs' property was based on fraud because Citibank did not have a financial
28   relationship with Plaintiffs, H & R Block Bank surrendered their right to do business in California in 2008;



                    CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                 Page 26 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 27 of 76 Page ID #:27




 1    and neither bank were creditors of Plaintiffs, never filed Claims with the bankruptcy court, were
 2   authorized to foreclose. Johnson failed to provide honest services and investigate Plaintiffs' complaint
 3    has resulted in Plaintiffs' injuries on August 24, 2017 by the false arresdimprisorunent, which is on-goin
 4    and continuing by knowing that the state court is violating Plaintiffs' civil rights by continuing the felor.
 5    case without jurisdiction. Defendant's conduct in concealing such evidence in the state case appears to be
 6 ~ ~ hate crime against Plaintiffs.
 7            163. Said concealment of exculpatory evidence by Johnson caused the following below
 8   defendants to trespass against Plaintiffs' constitutionally protected rights and violate Plainriffs' due
 9   and civil rights:
10                                            Kelly Nava's Involvement:
11            164. On October 22, 2015, a Report, file no. DAR2015-161-001 was signed by Reporti
12   Officer K. Nava and reviewed by Special Investigator C E J (informed and believe this is Craig
13   Johnson). The Report stated in item 8 —Offenses 115 PC, Record false document with public offi~
14   and Nava stated under Additional Suspects, page 2 of 2 in item 17 "Residence Address" - U
15   Transient.
16            165. The Initial Narrative ,page 1 of 2 dated October 22, 2015 stated the property was lost tc
17   foreclosure in or around 2008, listed Victim —Abbas S. Faradjollah and that the crime was discoverer
18   when victim (Abbas Faradjollah) received a "Courtesy Notice" from Riverside County Distric
19   Attorney's Office dated October 17, 2014. Page 2 of2 Nava stated "I attempted to locate Plaintiffs for
20   statement." "They do not live at any of their previous addresses listed for the past 10 years.'
21 "Ultimately, I was not able to locate Plaintiffs."
22            166. Prior to October 22, 2015, the date of the Initial Narrative made/signed by Defendant N
23   Plaintiffs only had three addresses since 1992, which were the two properties that Kelly Nava sty
24   Plaintiffs lost to foreclosure. Nava would not have attempted to contact Plaintiffs at addresses T
25   stated Plaintiffs lost to foreclosure and was no longer occupying the properties, and 5757 Dodd St
26   Mira Loma, CA 91504, Nava never contacted Plaintiffs at. Therefore, the Initial Narrative by Nava
27   is part of the state criminal case is false in violation of C.P.C. § 115. Nava knowingly, willingly
28   intentionally made false statements and Report.



                     CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                  Page 27 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 28 of 76 Page ID #:28




 1           167. On February 9, 2017 a DECLARATION IN SUPPORT OF ARREST WARRANT n
 2    Jamie Yvonne Mack and Bruce Mack was filed with the Court, signed by Senior Investigator

 3    Nava (Defendant, Nava) employed by Defendant D.A., in which Nava states the following to be tr
 4 "V-Abbas Faradjollah is the current owner of the property. He discovered this crime via a court

 5   notice from the County Recorder of a filed document on his property."

 6           168. Defendant Nava's Declarations) dated 1/18/2017 further stated to be true, that "

 7   defendant were previous owners of the property and lost it in foreclosure in 2008; therefore, they had

 8   legal standing to the property."      The Declarations) had "Transient' listed for defendants addre
 9   Transient is a biased, prejudicial label, as Plaintiffs axe not, and have never been, vagrants

10 "transients" living on the streets.
11           169. On March 6, 2018 a 5-Page Investigator's Report was made and signed by K. Nava stat:

12   a 17201 Bluff Vista Court, Riverside, CA 92503 prior property owned by Plaintiff Jamie Mack
13   numerous documents recorded against that property she suspects are frivolous or falsely record

14   According to California Law, any documents (i.e., evidence) received after a false arrest is inadmissi

15   in a court oflaw.

16           170. On Apri15, 2018 another 2-Page Investigator's Report was made and signed by K. Nava

17   for Court #RIF1700487. According to California Law,any documents (i.e., evidence) received after a

18   false arrest is inadmissible in a court oflaw.
19                                     Chery Parker's(Parker)Involvement:
20           171. On October 23, 2017 Defendant Parker made and signed a 2-Page"Forensic Documen
21   Examiners' Report" with attachments, that claim Plaintiffs lost the property to foreclosure on April 21

22   2009. The above listed Report was made based on one-sided circumstantial evidence, fraud and i~

23   violation of federal bankruptcy law. According to California Law, any documents (i.e., evidence

24   received after a false arrest is in admissible in a court oflaw.

25           172. The unsubstantiated allegations by Parker in her report that Plaintiffs lost the property due

26   foreclosure was done without Parker taking proper measures in the performance of her duties to investig~

27   the facts ofthe foreclosure prior to making that statement, which is negligent.

28



                    CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                  Page 28 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 29 of 76 Page ID #:29




 1           173. The attached Exhibit List is prima facie that Parker made her report without investigating

 2   facts ofPlaintiffs' two 2010 complaints filed with the D.A. to deternune that the foreclosure was illegal a~

 3   that neither bank had authority or standing to foreclose. This is fraud. Parker has a fiduciary duty not

 4   cause any hint of deception or harm to one ofthe people, Parker has done so and caused harm and injury

 5   Plaintiffs, as the state court has still been ordering Plaintiffs to appear before the state court knowing there

 6   no jurisdiction and no crime has been committed for the court to be continuing the case, which is a civ

 7   NOT criminal matter. It is Defendants' failure to investigate, and Defendants' conspiracy in entry of fal

 8   documents and reports which is criminal.

 9           174. Parker acted in concert with all other defendants (the D.A., the state, the state court, J

10   DuMouchel, Fisher, Hernandez, Leonard, Brock, Diaz and Gunn) involved in the state court case, w

11   appear to have made unsupported, biased, prejudicial statements and conspired against Plaintiffs who

12   black senior citizens and appear to have been targeted and falsely charged and imprisoned for

13   manufactured felony crime.

14           175. Plaintiff Bruce Mack was initially assigned a Public Defender Patricia Cabrera and Plaintiff

15   Jamie Yvonne Mack was assigned a Private Attorney Lori Myers from the court. Plaintiff Bruce Mack

16   dropped off at his public defender's office the below document for her to file in the case based on no

17   jurisdiction:

18           176. Plaintiff Bruce Mack's Motion To Request All Documents Leading Up To Arrest was the

19   only document stamped RECEIVED but not filed with the state court.

20           177. Plaintiffs later discovered from Internal Affairs ofthe Riverside Police Department that the

21   four Police Officers exceeded police powers. In other words,there was no arrest warrant issued for

22   Plaintiffs' arrest at the time of arrest on August 24, 2017. Plaintiffs were falsely arrested and bought

23   before the state court.

24           178. The actions ofParker and all named defendants involved with the state court case in

25   continuing the charges against Plaintiffs is abuse of authority, harassment and appear to be a racially

26   motivated hate crime because ofParker and all those in concert involved in the state court case

27   perceived perception that Plaintiffs lost the property to foreclosure which is false, without Parker or the

28   D.A. ever investigating the foreclosure.



                     CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                    Page 29 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 30 of 76 Page ID #:30




 1             179. Parker had a fiduciary duty to investigate all aspects of a suspected crime without 1
 2     investigation being one-sided. This is continuing to cause injury to Plaintiffs because Parker failed
 3     mention the two prior complaints Plaintiffs filed with the D.A. in 2010, or mention any of the nine
 4     pleadings Plaintiff Bruce Mack filed into the state court case. Plaintiffs' injuries are continuous due
 5     Defendants' harassment and intentional infliction of emotional distress, which has cause Plaintiffs train
 6     by being falsely arrested, falsely imprisoned, caused financial stress of excessive bail, diminishment
 7     quality of life due to the stress and embarrassment of being incarcerated, health challenges due to eleval
 8     blood pressure, anxiety, and alienation ofsome family and friends.
 9                             The Riverside Police Deaartment's Involvement(RPD1:
10             180. On August 24, 2017, Riverside Police Department violated Plaintiffs' 4th Amendment
11     rights, restricted their civil liberties, and violated Plaintiffs' constitutionally protected rights and due
12    process rights by arresting Plaintiffs. The four Riverside Police Officers who arrested Plaintiffs were:
13    Officer Evan Wright, Badge # 1453, Officer Christopher Carmona, Badge No.1781, Officer S. Macias
14 (maybe known as Daniel Macias), Badge # 1434 and Officer Jeffrey Pap, Badge # 1668 all from the
15    Riverside Police Department.
16             181. On August 24,2017,the arresting Officers stated they had arrest warrants for Plaintiffs
17    arrest, but failed to provide ones when demanded by Plaintiffs.
18             182. Plaintiff Bruce Mack was booked on August 24, 20l 7, housed and given a bed on Friday
19    August 25, 2017.
20            ]83. Plaintiff Jamie Yvonne Mack had to be taken to emergency twice, once on August 24~' and
21    a second time on August 25, 2017 because of elevated blood pressure. Plaintiff Jamie Yvonne Mack
22    was finally booked on August 26, 2017, housed and given a bed on Saturday August 26, 2017.
23             184. The action of the four arresting Officers above caused Plaintiffs to be falsely imprisoned
24    arraigned on August 28, 2017, in which was the first time Plaintiffs knew of and saw a copy of the Februar
25    7,2017 felony complaint(plaintiffs were never served with nor were aware of the felony complaint, prior t
26    arraignment); and illegally bought before the Riverside Superior Court criminal division from Septembe
27    2017 to December 2018 as the Officers arrested Plaintiffs without an arrest warrant at the time of arrest an
28



                      CASE NO.:           VERIFIED COMPLAINT FOR DAMAGES                   Page 30 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 31 of 76 Page ID #:31




 1    without the court having jurisdiction over Plaintiffs. This is a violarion of Plaintiffs civil rights
 2    constiturionally protected rights, as the 4~' Amendment protects Plaintiffs against false arrest.
 3            185. The filing of the February 7, 2017 felony complaint by the D.A. caused Plaintiffs to
 4    kidnapped, arrested, detained and imprisoned on August 24, 2017 without Defendants Officers Wn
 5    Carmona, Pap and Macias of the "RPD" having an arrest warrant at the time of arrest, when Offi
 6    Carmona, Pap, Wright and Macias came out after 7pm (after hours) on August 24,2017 and stated they
 7    a warrant for Bruce Mack and Jamie Mack arrest.
 8                                  Defendant Maureen DuMouchel's Involvement:
 9            186. Defendant DuMouchel did not follow court procedure and violated due process, as
10    were never served with the February 7, 2017 felony complaint and knew nothing of it prior to the arrest
11    August 24, 2017,and there was no arrest warrant at the time of arrest.
12            187. The First Amended Information Complaint filed on Apri15,2018 by the D.A. that
13    presented to the state court for adding additional charges against Plaintiffs is inadmissible according to
14    California arrest law since the false arrest caused Plaintiffs to be illegally bought before the state court.
15            188. According to California Law, any documents (i.e., evidence) received after a false arrest i
16 I I inadmissible in a court oflaw.

17            189. DuMouchel was aware or should have been aware that Plaintiffs never knew of, or were
18   served with the felony complaint prior to arrest/arraignment. There was no arrest warrant at the time
19   an-est, no credible witness, nothing substantiated, no prior criminal history of Plaintiffs, who h~
20   cooperated by appearing at every court-ordered date and"'~ ~E ~`~       bail check-in and monthly bail paym~
21   despite the fraud, harassment, bias, and constitutional violations perpetrated against Plaintiffs with
22   jurisdiction.   The criminal charges against Plaintiffs should have been thrown out or dropped
23   DuMouchel.
24            190. Instead of DuMouchel dropping the charges, she caused further injury to Plaintiffs in
25   Department 52. DuMouchel, all named Defendantjudges in concert with DuMouchel and the first, court
26   appointed Attorney Lori Myers conducted a fake hearing to determine if Plaintiff Jamie Yvonne Mack
27   had a right to get a copy ofthe arrest warrant, which thejudge denied, when all knew there was no arrest
28   warrant filed with the court to give Plaintiffs a copy of.



                     CASE NO.:           VERIFIED COMPLAINT FOR DAMAGES                    Page 31 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 32 of 76 Page ID #:32




  1            191. DuMouchel failed to drop the charges, which caused further injury to Plaintiffs by

 2     harassment of numerous continuances to have the state court order Plaintiffs to appear without

 3     jurisdiction to do so, which caused the following named Defendant "judges" below to further violate

 4     Plaintiffs' civil rights, constitutional rights, and rights to due process oflaw.

 5             192. DuMouchel's actions of having Plaintiffs appear in court and the actions of Defendant(s),

 6     Judge Helios J. Hernandez in department 63 at the Riverside Superior Court Criminal Division on

 7     September 7, 2017; Judge Mac R. Fisher actions on October 27, 2017 in department 52 and Judge Diaz

 8     on January 23,2018 in department 63; was an abuse of authority and misuse of court resources in

 9     continuing Case No. RIF1700487 and ordering Plaintiffs to appear withoutjurisdiction and no arrest

10     warrant filed with the court to have bought Plaintiffs before the court.

11                                        David Gunn's Involvement(Gunn):

12             193. Defendant, David A. Gunn was the judge Plaintiffs appeared before on August 28, 2018 at

13    the Felony Incustody Arraignment. Gunn denied Plaintiffs release on own recognizance for afirst-time

14    felony with no reduction in bail and moved forward with having the Plaintiffs taken into custody.

15    Plaintiffs' civil rights were violated, as there was no jurisdiction to do so, Plaintiffs' arrests were false as

16    there was no arrest warrant entered in the court giving the courtjurisdiction.

17            194. The actions of Defendant David A. Gunn in Department 61 at the Riverside Superior Court

18 ~I Criminal Division on October 26, 2017 was an abuse of authority and misuse of court resources in

19    continuing the hearings for Case No. RIF1700487 to March 1, 2018; March 15, 2018; April 12, 2018,

20    June 28,2018, July 16 & 30, 2018, August 30, 2018, October 4, 2018, November 8, 2018 and a pending

21    date of January 31,2019 without jurisdiction and with no arrest warrant filed with the state court to have

22    bought Plaintiffs before the court.

23            195. The actions of Judge Gunn in ordering Plaintiffs to appear withoutjurisdiction to do so was

24    prejudicial and biased against Plaintiffs and in violation of Code of Judicial Ethics. Judge Gunn,

25    Prosecuting District Attorney Maureen DuMouchel all participated in said ethics violations, and failed

26    advocate for Plaintiffs, which violated Plaintiffs' due process rights, civil rights and constitutionally

27    protected rights.

28                        Jean Pfeiffer Leonard's Involvement(Leonard): Retired Judge.



                     CASE NO.:           VERIFIED COMPLAINT FOR DAMAGES                    Page 32 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 33 of 76 Page ID #:33




 1            196. The actions of Defendant Leonard was an abuse of authority and prejudicial and biased on
 2   October 12, 2017 in Department 63 of the Riverside Superior Court, Criminal Division due to the fact
 3   that Leonard granted the oral motion for Plaintiff Bruce Mack to proceed in pro per, but Judge Leonard
 4   stated anybody who represents themselves in pro per is a fool.
 5           197. Plaintiff tried to communicate with public defender Attorney Cabrera but she failed to
 6   respond and made it clear that she wanted off the case, so Plaintiff had no.choice but to represent him
 7   in pro per. Judge Leonard stated she refused to believe Attorney Cabrera failed to communicate with
 8   Plaintiff and every time Bruce attempted to speak, Judge Leonard interrupted him and attempted to
 9   prove her point by stating, this is why you shouldn't be in pro per.
10           198. Leonard lacked jurisdiction to have Plaintiffs appear before her due to a wrongful and false
11   arrest of Plaintiffs that illegally bought them before the court. The sta.tement(s) made by Leonard was
12   prejudicial and biased toward Plaintiff Bruce Mack, violated the Code of Judicial Ethics and Canons,
13   and violated Bruce Mack's ls` Amendment right to petition for redress of grievances, violated his civil
14   rights, and constitutionally protected rights.
15           199. Plaintiffs later found out from the Commission on Judicial Performance and the Assigned
16   Judges Council that Leonard was a retired judge and to check with the state court to see if she was
17   authorized to sit on the case. Plaintiffs confirmed with the Riverside state court criminal division that
18   Leonard was not assigned on the judges calendar or authorized to sit on the case on October 12, 2017.
19   Leonard had a fiduciary duty not to deceive or cause injury to Plaintiffs but willfully and knowingly
20   failed to inform Plaintiffs that they were before a retired judge. Leonard abused hd~~thority, and
21   violated Plaintiffs rights to due process of law, and violated their constitutionally protected rights and
22   civil rights.
23                                Jerome E. Brock's Involvement: Retired Judge.
24           200. The actions of Defendant Judge Brock in Department 61 at the Riverside Superior Court
25   Criminal Division on June 28, 2018 was an abuse of authority and misuse of court resources in
26   continuing the Trial Readiness Conference for Case No. RIF1700487 from June 28, 2018, until July 16,
27   2018 and still ordering Plaintiffs to appear for trial on July 30, 2018 back in Department 61. Brock
28   ordered Plaintiffs to appear before the court with no arrest warrant filed with the court to have bought



                     CASE NO.:         VERIFIED COMPLAINT FOR DAMAGES                  Page 33 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 34 of 76 Page ID #:34




 1   Plaintiffs before the court and without jurisdiction, and was prejudicial and biased against Plaintiffs in
 2   violation of Code of Judicial Conduct and due process oflaw.
 3          201. Plaintiffs later found out from the Commission on Judicial Performance and the Assigned
 4   Judges Council that Brock was a retired judge and to check with the state court to see ifhe was authorized to
 5   sit on the case. Plaintiffs confirmed with the Riverside state court criminal division that Brock was not
 6   assigned on the judges calendar or authorized to sit on the case on June 28, 2018.
 7          202. Brock had a fiduciary not to deceive or cause injury to Plaintiffs but willfully and
 8   knowingly failed to inform Plaintiffs that they were before a retired judge. Brock abused his authority,
 9   and violated Plaintiffs rights to due process oflaw, and violated their constitutionally protected rights
10   and civil rights.
11          203. Plaintiffs filed a complaint with the Commission on Judicial Performance against each of
12   the above Judges on July 2,2018 for misconduct.
13                                 Riverside Sheriff Department's Involvement:
14          204. On March 23, 2012 Plaintiffs sent Stanley Sniff, Sheriff — Coroner an Affidavit To
15   And Desist via certified mail no. 7010 0290 0002 1530 1203 regarding both properties to prevent
16   further injury to Plaintiffs. The Affidavit also reminded the Sheriff that Plaintiffs completed
17   administrative process against Citibank.
18          205. Stanley Sniff of the Riverside Sheriffs Department was sent numerous certified
19   from Plaintiffs from 2009 to 2017 regarding the mortgage fraud, civil rights violation and fraud age
20   Plaintiffs but, the Riverside Sheriff's Department made Plaintiffs feel like crap for coming to their o.
21   to report a crime as victims of mortgage fraud and have sat idly by while Plaintiffs lost their homes
22   are now being charged with crime Plaintiffs originally went to the Riverside Sheriffs Department
23   the D.A. to get help but ended up getting arrested and incarcerated.
24          206. The Riverside Sheriffs Deparhnent is in part responsible for Plaintiffs' loss and Conti
25   injury in being falsely charged for a crime, as there was no crime committed by Plaintiffs but
26   Sheriff's, the D.A. or Becerra's office failed to investigate the matter. This is failure to provide ho
27   service and all named defendants have conspired against Plaintiffs in this conspiracy and ra
28   regarding the state court manufactured felony crime.



                    CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                   Page 34 of70
      Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 35 of 76 Page ID #:35




  1           207. Plaintiffs discovered major fraud, perjury by numerous defendants from the February 7,

  2   2017 felony complaint, first Amended Information filed April 1~ 2018 and investigative

  3   as set forth below.

  4           208. Defendants: the D.A., Johnson, Hestrin, DuMouchel, Nava, Parker used Plaintiffs

  5   and Riverside properties in said fraud in the charges that Plaintiffs violated C.P.C. § 115 and

  6   Plaintiffs were foreclosed on, without looking at Plaintiffs evidence in the state case showing

 7    foreclosure was void by law.

 8           209. Based on the fact that there was actual fraud discovered in 2017 by original lender,

 9    Directors Mortgage regarding the 1404 Via Del Rio, Corona real property and Wholesale Capital

10    Corporation regarding the 17201 Bluff Vista Court, Riverside property didn't have legal beneficial

11    ownership ofthe loan and due to the verification broken chain of title by various government agencies,

12    including the Federal Trade Commission, therefore, any assignments or transfers to the foreclosing

13    entities, Defendants, H & R Block Bank and Citibank are not voidable but simply void according to

14    California law.

15           210. According to the Uniform Commercial Code(UCC)under UCC §3-305 —Defenses: "If

16    illegality or fraud were involved in the original transaction, it cannot be proved that the person is entitled

17    to enforce the instrument." Also, the attached evidence is proof that neither bank had authority or

18    standing to foreclose and take Plaintiffs property for personal gain. The D.A., Hestrin, Nava and Parker

19    would have obtained the same exhibit evidence, if not more had the Officials provided honest service to

20    Plaintiffs and investigate the foreclosure since the felony charges against Plaintiffs were based on that.

21           211. Based on the fraud, wrongful taking and trespass of both properties, Plaintiffs were

22    wrongfully charged by the D.A. and the foreclosing documents filed on behalf of HRBB and Citibank

23    are fraudulent because neither bank foreclosed. Due to said fraud, misconduct and acts of bad faith the

24 i D.A. and all named defendants involved with the criminal cased failed investigate or investigate the

25 ~ foreclosure prior to filing the felony charges. This means, the following recorded documents are in

26 i violation of C.P.C. § 115:

27           212. On February 7, 2017, Felony Complaint filed with the Riverside Superior Court Cri

28    Division, Case No. RIF1700487. This is a false document in violation of C.P.C. § 115 because the D



                    CASE NO.:           VERIFIED COMPLAINT FOR DAMAGES                  Page 35 of70
      Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 36 of 76 Page ID #:36




  1   acted in bad, faith, committed fraud and concealed exculpatory evidence from the court, conspired
  2   others involved in the state case and caused Senior Investigator Kelly Nava and Real Estate ~
  3   Examiner Cheryl Parker of the D.A. to submit perjured information in an initial narr~
  4   investigative/forensic reports, and all ignored jurisdiction.
 5            213. On February 9, 2017, the two Declarations filed in the criminal case by Senior
 6    Kelly Nava with the D.A. This is a false document in violation of C.P.C. § 115 because the D.A. acted i
 7    bad faith, committed fraud and ignored jurisdiction.
 8            214. On April 15, 2018, the First Amended Information filed in the criminal case on behalf
 9 ~ f Hestrin with the D.A. This is a false document in violation of C.P.C. § 115 because the D.A. acted ir.
10    bad faith, committed fraud, and acted outside jurisdiction.
11                                          Xavier Becerra's Involvement:
12            215. Plaintiffs mailed a civil rights complaint to the California State Attorney General Xavier
13    Becerra on March 23,2018 because Becerra is the chief law enforcement officer responsible for
14    enforcing civil rights laws and ensuring the people's rights as the Peoples Lawyer for citizens.
15            Defendants Attorney General, Xavier Becerra and Riverside County District Attorney, Mike
16    Hestrin were "each" notified ofPlaintiffs' civil rights complaint and false arrest, imprisonment to review
17    the claims to ensure fair/impartial justice and the protection ofPlaintiffs' rights afforded to them, but
18    nothing has been done to assist Plaintiffs. Plaintiffs have been denied their intangible right to honest
19    services from government employees and agencies, as Plaintiffs rely on our court justice system and
20    local agencies who are there to act as our personal representatives/fiduciaries ofthe people/consumers to
21 I~ enforce all rights afforded to us, apply the law and ensure fair/impartial justice; as we are victims of civil
22    rights violations, mortgage fraud and other federal violations/ consumer crimes.
23            216. Plaintiffs mailed a civil rights complaint to Becerra for the state court case to
24    investigate/investigate regarding fraud and civil rights violations. Becerra as a public official has a
25    fiduciary duty to assist Plaintiffs regarding their claims in the state criminal matter to ensure fair, w
26    and impartial justice, based on Plaintiffs' complaint of violation of civil rights laws by the D.A. but
27    Becerra has not given Plaintiffs written assurance that anything will be done.




                     CASE NO.:           VERIFIED COMPLAINT FOR DAMAGES                  Page 36 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 37 of 76 Page ID #:37




 1           217. Plaintiffs are confident that Secerra is aware that, in 2012, Senator(former Attorney
 2   General) Kamala Harris announced the $28 Billion Dollar Settlement from 5 major banks for wrongfully
 3   foreclosing on California Homeowners because ofthe banks' wrongful foreclosure practices in using false,
 4   fraudulent and missing documents to take California Homeowners homes from January 1, 2008 through
 5   December 31, 2011. This is what happened to Plaintiffs due to the fact Plaintiffs' Corona and Riverside
 6   homes were illegally foreclosed on between those timeframes.
 7           218. Citibank was one ofthe banks that was part ofthe $28 Billion Dollar settlement for
 8   wrongfully foreclosing on California Homeowners. -Both Plaintiffs' Corona and Riverside real
 9   properties were foreclosed on during that timeframe.
10                                 Defendant The State Court's Involvement:
11           219. After numerous continuances by the state court, the D.A. filed a First Amended
12   Information on April 15, 2018 that brought four more charges against Plaintiff Jamie Yvonne Mack
13   Count 2 —Count 5 and one more charge against Plaintiff Bruce Mack Count 4, without jurisdiction or
14   any probable cause or substantiated evidence. This violated Plaintiffs' civil and due process rights.
15                                    The State of California's Involvement:
16          220. The D.A. and all defendants acted in concert with the D.A. failed to investigate Plaintiffs
17   foreclosures prior to having the felony charges filed against Plaintiffs. Defendants' failure to
18   Plaintiffs' reports and complaints caused injury to Plaintiffs, and caused the below
19   defendants/trespassers to take illegal possession ofPlaintiffs' Corona and Riverside properties:
20          Abbas Seved Faradiollah's and Sohila Adibi Faradiollah's (Faradiollah)Involvement:
21          221. Defendants Abbas Seyed Faradjollah and Sohila Adibi Faradjollah (Faradjollahs
22   Trespassers) appear to be the occupants and trespassers by law who are in illegal possession anc
23   allegedly purchased Plaintiffs 1404 Via Del Rio Corona property that defendant H & R Block Bax~
24   caused to be sold on December 11, 2009 to the Faradjollahs by recorded grant deed, Document No
25   2009-0637857 based on fraud.
26          222. Trespassers the Faradjollahs may be in concert regarding said Fraud with the D.A. and
27   have Unclean Hands. Trespassers and/or unknown occupants who remain in possession of the




                   CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                 Page 37 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 38 of 76 Page ID #:38




 1    were sent an Affidavit via United States° Mail, Certified Mail No. 7016 2345 0000 1516 7889 on N

 2   21,2016, notifying them ofsaid fraud and the filing ofthis complaint for damages

 3           223.   The Faradjollahs are deemed Trespassers, see Black's Law Dictionary 5~' Edi

 4   definition of Trespasser: A person who enters on the property of another without any right,

 5   authority, even if your trespass may have been innocent.

 6           224. Trespassers the Faradjollahs may be liable for injury and damages to Plaintiffs, due to

 7   being in possession of the 1404 Via Del Rio, Corona property.

 8                  Frederick Richard and Jeanetta Richard's (the Richards)Involvement:

 9           225. Defendants Frederick and Jeanetta Richard (Richards) appear to be the occupants

10   trespassers by law who purchased Plaintiffs 17201 Bluff Vista Court property on December 11,

11   that defendant Citibank caused to be sold on July 24, 2012 to Scott Jones by recorded grant

12   Document No. 2012-0346115 that caused multiple grant deeds (fake deeds) to be recorded a

13   Plaintiffs' property ending with the Richards on December 11, 2009 who appear to be in i

14   possession based on fraud.

15           226. Walter Segura and Tourmaline Segura, who sold the property to the Richards ,were sent an

16   Affidavit via United States Mail, Certified Mail No. 7016 0750 0000 6104 2986 on November 17, 2016,

17   notifying them of said fraud and that Plaintiffs would be filing this complaint for damages.

18           227. The Richards are deemed Trespassers by Black's Law Dictionary 5th Edition, definition

19   Trespasser is: A person who enters on the property of another without any right, lawful authority, even

20   your trespass may have been innocent.

21          228. Trespassers the Richards may be in concert with said Fraud and may have Unclean

22   and maybe liable for injury and damages to Plaintiffs, due to still being in possession ofthe 17201

23   Vista Court, Riverside property.

24          229. T'he grant deeds)recorded on both above named Defendants/Trespassers the Faradjollahs

25   and Richards are "fake deeds" by law and are in violation of C.P.C. § 115 because evidence was given

26   the D.A. that both banks agreed by consent that neither bank had any right to seek possession to have

27   foreclosed. The state court, the sheriff and the County Recorder were notified, but all sat idly by and

28 ~ nothing.



                    CASE NO.:           VERIFIED COMPLAINT FOR DAMAGES               Page 38 of70
      Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 39 of 76 Page ID #:39




  1           230. Trespassers the Faradjollahs and Richards appear to be Liable For Illegal Entry Wi

  2   Lawful Right. If trespassers) the Faradjollahs and the Richards cannot provide verified evidence tl

  3   they had "clean hands" in said purchase and if trespassers cannot provide direct evidence of a va
  4   receipt for said purchase (via sales receipt) that a lawful purchase was conducted and that the purch~

  5   was an arms-length transaction, Trespassers) can be held personally liable for injury to Plainti

 6    according to the law. Plaintiffs are requesting an accounting for the Faradjollahs and the Richards
 7    produce all escrow papers, loan documents, bank statements and Claim numbers with the bankrupt

 8    court that they acquired Plaintiffs' real properties with clean titles and hands.

 9           231. Trespassers the Faradjollahs and Richards were noticed ofthe mortgage fraud and illegal

10    sale of Plaintiffs' properties by written correspondence from Plaintiffs, but both stood silent in

11    responding. Therefore, if Trespassers(who are in,illegal possession ofthe property) have unclean
12    hands, found to have conspired with any of the defendants against Plaintiffs and caused injury to

13    Plaintiffs by the illegal purchase of said properties, then the Trespassers are in criminal possession, and

14    are continuing occupancy of said properties, knowing such to be true and may be individually liable for

15    injury sustained to Plaintiffs by their actions of acquiring a bad title, fraudulent grant deed recordings
16    and deceptive maneuvers by any and all said defendants/trespassers who are intruders that collectively
17    conspired in depriving the rightful record owners, the Plaintiffs, of peaceful possession of their real

18    properties.

19           232. This verified complaint is Notice that Trespassers the Faradjollahs and Richards are in

20    criminal possession of Plaintiffs' real properties by way offalse/recorded instruments grant deed, deed

21    oftrust, in violation of Title 18 U.S.C. §§ 1001 and 2311 and other federal violations and theft, which is

22 ~ punishable by law.

23           233. The D.A.'s criminal charges are unsubstantiated and circumstantial, as there has been
24    crime committed by Plaintiffs. Exculpatory evidence was concealed in the criminal case of the two

25    complaints of real estate mortgage fraud, civil rights violation and violation of C.P.C. § 115 filed
26    Plaintiffs in 2010 that the D.A. failed to investi ate prior to filing the state criminal charges agai

27 ~ Plaintiffs, which was a civil, NOT criminal matter.

28



                    CASE NO.:           VERIFIED COMPLAINT FOR DAMAGES                    Page 39 of70
      Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 40 of 76 Page ID #:40




  1             234. The criminal charge bought against Plaintiffs by Defendant the D.A.'s office in the stag
 2      court case are based on fraud, as the foreclosure was not investigated prior to Defendants) the D.A
  3     filing criminal charges against Plaintiffs for Document: Correction Grant Deed; or the County Recorder
 4      notifying the Faradjollahs who appear to be in illegal possession of the Corona property and arE
 5      considered Trespassers by Law.
 6              235. Employer the State of California is responsible for its employees, the Riverside Distric
 7      Attorney Office and all those employed with said office. If the State on behalf of D.A. would have hac
 8      the D.A. and all those involved with the state felony case investigate Plaintiffs' two complaints in 2010
 9      the D.A. would have discovered that on September 23, 2009 the Eviction Restoration Notice regardin£
10      the Corona property, the Eviction Restoration Notice regarding the Riverside property filed in
11      Riverside Superior Court and grant deeds recorded with the Riverside County Recorder by Defend
12      H & R Block Bank, Citibank, the Richards and the Faradjollahs are all fake deeds based on fraud.
13      injury to Plaintiffs for defendants' failure to investigate is continuing and on-going, as trespassers
14      Faradjollahs and Richards appear to still be in illegal possession of Plaintiffs Corona and River
15      property.
16 ~,           236. The charges brought against Plaintiffs in the state criminal case were based on the f
17      that Defendants knew about. Plaintiffs reached to the D.A. office twice in 2010 and again in 2017 a
18      the foreclosure and District Attorney Craig Johnson refused to investigate the matter.
19              237. The Superior Court, the County Recorder and the Sheriffs Department were aware
20      received a copy of Plaintiffs' Affidavits and Complaints against both banks for both properties. C
21      evidence that the D.A., Nava, Parker and all those involved with the state court case would
22      discovered if said defendants would have talked with Plaintiffs were:
23             238. Form 1099-A Acquisition or Abandonment of Secured Property dated 01-13-2011
24      filed with the IRS by American Home Mortgage Servicing Inc. for the Bluff Vista property. This
25      not Citibank.
26             239. On March 29, 2011 Plaintiffs served Honorable Judge Sherri Carter at the Ca
27      Superior Court Executive Offices a Notice of Fraudulent Eviction Proceeding regarding the Ri
28      property. T'he state court sat idly by while Plaintiffs lost their home.



                        CASE NO.:         VERIFIED COMPLAINT FOR DAMAGES              Page 40 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 41 of 76 Page ID #:41




 1            240. On March 23, 2012 Plaintiffs sent Stanley Sniff, Sheriff — Coroner an Affidavit To C
 2    And Desist via certified mail no. 7010 0290 0002 1530 1203 regarding both properties to prevent an
 3    further injury to Plaintiffs. The Affidavit also reminded the Sheriff that Plaintiffs completed the
 9    administrative process against Citibank. The Sheriff Department sat idly by while Plaintiffs lost
 5    home.
 6            241. On September 23, 2009 an Eviction Restoration Notice regarding the Corona property
 7    signed by Sheriff's Authorized agent M.Lucero, Badge # 3443, in state court case no. RIU013435,
 8    Officer File No. 2009071343. Defendant, H&R Block Bank wasn't licensed to do business in C~
 9    at the time of foreclosure, violated Plaintiffs civil rights (mainly the 4th Amendment) and
10    Plaintiffs loss and injury for personal gain, based on that notice.
11            242. On May 25, 2012 an Eviction Restoration Notice regarding the Riverside property
12    signed by Sheriffs Authorized agent for state court case no. MVC10003065 and Levying Officer ]
13    No. 2012103127. That is a false document filed in public court record based on fraud that Defend.
14    Citibank didn't foreclose, violated Plaintiffs civil rights (mainly the 4~' Amendment) and cau
15    Plaintiffs loss and injury for personal gain, based on that notice.
16            243. The State of California, in concert with the D.A. had excessive bail set against Plaintiffs,
17    were incarcerated in violation of ARTICLE 1 Sec 32 of California Constitution, which states that no ri;
18    privilege, immunity or service available to residents of California shall be denied or restricted by any a€
19    or employee of tt~e state of California. Defendants caused Plaintiffs cruel and unusual punishment
20    charging them criminally on a civil matter.
21                                HISTORY OF STATE CASE NO.RIF1700487
22            244. On February 7, 2017 a criminal felony complaint was filed by SWTLE with the Riverside
23    Superior Court, Case No. RIF1700487 that caused Plaintiffs to be kidnapped from their home and
24    falsely arrested on August 24, 20l 7.
25            245. On February 7, 2017, Defendant: The Riverside District Attorney Office (D.A.) on behalf
26    ofTHE PEOPLE OF THE STATE OF CALIFORNIA, COUNTY OF RIVERSIDE vs. JAMIE
27    YVONNE MACK and BRUCE MACK filed a felony charge against Plaintiffs alleging violation of
28   ~ C.P.C. § 115(COUNT l).



                     CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                  Page 41 of70
          Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 42 of 76 Page ID #:42




  1       YVONNE MACK and BRUCE MACK filed a felony charge against Plaintiffs alleging violation of
  2       C.P.C. § 115(COUNT 1).
  3               246. The Defendant D.A. felony complaint Case No. RIF1700487 stated on or about October 1
 4        2014, with the Riverside Superior Court, Criminal Division (the Court)in the County of Riverside, State
 5        of California, that "defendants, JAMIE YVONNE MACK and BRUCE MACK did willfully,
 6        unlawfully, and knowingly procure and offer a false and forged instrument, to wit: DOCUMENT NO.
 7        2014-0387757(CORRECTION OF GRANT DEED), which instrument, if genuine, might be filed,
 8        registered, and recorded, under any law ofthis state and the United States."
 9                247. On February 9,2017 a DECLARATION IN SUPPORT OF ARREST WARRANT naming
10        Jamie Yvonne Mack and Bruce Mack was filed with the state court, signed by Senior Investigator Kelly
11        Nava(Defendant, Nava). The Declarations) had a bail amount listed 2/8/17 of$165,000.00 for each of
12        defendants (Plaintiffs in Case No. RIF1700487), was signed by Mac R. Fisher and further stated "declarant
13        prays that an arrest warrant issue for the arrest(during the day or night) of Bruce Mack on one, and Jamie
14        Yvonne Mack on the other declaration. According to the Apri130, 20181etter from Internal Affairs ofthe
15        Riverside Police Department, there was no valid arrest warrant at the time ofarrest.
16                248. The filing of the felony complaint by the District Attorney's Office caused Plaintiffs to be
17        arrested on August 24,2017 by four Riverside Police Officers. Defendants: Wright, Carmona, Macias
18        and Pap of the Riverside Police Department who said they had an arrest warrant. Plaintiffs demanded to
19        see a copy ofthe arrest warrant and defendant officers failed to provide one.
20                249. Plaintiffs demanded numerous times from the Police Deparhnent, District Attorney Office,
21        the Public Defender's Office, Jamie Yvonne Mack's Private Attorney and the judge for a copy ofthe
22        arrest warrant, and Defendants all failed to provide a copy.
23               250. The District Attorney Office set excessive bail of $165,000.00 each for Plaintiff for a
24 j time, non-violent criminal offense. This is cruel and unusual punishment in the extreme.
25               251. Plaintiffs were arraigned August 28, 2017 and were denied release on O.R. or a reduction
      i
26        bail for afirst-time, non-violent offense.
27               252. Plaintiff Bruce Mack spent 8 days in jail in the Robert Presley Detention Center,4000
28        Orange Street, Riverside 92501,and was bailed out on August 31, 2017. Plaintiff Jamie Yvonne Mack



                         CASE NO.:           VERIFIED COMPLAINT FOR DAMAGES                 Page 42 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 43 of 76 Page ID #:43




 1            253. Once released, Plaintiffs discovered from a friend of ours who Plaintiff Jamie Yvonne Mack
 2     had her friend to contact District Attorney Craig Johnson who Plaintiffs reached out to in the past to
 ~~    inform him that they were arrested and District Attorney Craig Johnson informed Plaintiffs' friend that hf
       was part of the investigation on the case.
 5            254. Exculpatory evidence ofPlaintiffs' two prior complaints in 2010 were received by Johnson
 6     prior to any of the Reports, Initial Narratives made by Defendant Nava or Forensic Document Examiner'.
 7     Report made by Defendant Parker employed with Defendant D.A. and another in 2017, with evidence
 8     attached that neither bank(H & R Block Bank and Citibank N.A.I foreclosed.
              255. Defendants concealed Plaintiffs' exculpatory evidence in the state case. Plaintiffs reached
10     out to Defendant District Attorney Craig Johnson three times to investigate the foreclosure and violation
11     of C.P.C. § 115, which he never investigated, and that exonerating evidence was withheld from the state
12    case # RIF1700487.
13            256. Plaintiff Bruce Mack attached the same exculpatory evidence with additional evidence in
14    2017-2018 to the D.A. and the state court. Plaintiffs' following documents were stamped RECEIVED
15    and filed into the state case #RIF1700487:
16       (1) On October 13, 2017 170.6 a Preemptory Challenge and Declaration In Support of Preemptory
             Challenge was filed— To remove the District Attorney Office and State Court from moving
17
             forward due to no jurisdiction.
18       (2) On October 13, 2017 Notice of Motion For State Attorney General To Appear was filed — to
19           investigate the matter to possibly disqualify the parties (District Attorney Office and all those a
             party to)from prosecuting the case due to no jurisdiction, double jeopardy, federal civil rights
20           violation for violating a federal bankruptcy discharge order.
21       (3) On October 13,2017 a Motion To Request All Documents Leading Up To Arrest was file
             stamped — To see if there was an actual arrest warrant as stated by Riverside Police Officers, if
22           not, Plaintiff Bruce Mack stated that the case needs to be dismissed due to no jurisdiction.
             NOTE: This is the "only" document that was stamped "Received" by defendant, the court but
23
             not ftled into the case.
24       (4) On October 13, 2017 Motion To Dismiss The Felony Complaint For No Jurisdiction was filed —
25           The February 7, 2017 Felony Complaint and the April 15, 2018 First Amended Information
             filed into the court is abuse of process, failure to ensure rights, a misuse of court resources, in
26           violation of a federal bankruptcy discharge order, the Mack civil rights, namely the Fourth and
             Fourteenth Amendment. There can be no second trial based on ownership stating Plaintiffs
27
28



                     CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                 Page 43 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 44 of 76 Page ID #:44




               injured the owner, that's double jeopardy in violation of California Penal Code(Ca P. C.) §687
               and §793 of the code.
 2        (5) On October 16, 2017 an Opposition And Objection To PlaintiffFelony Complaint was filed —
 3            due to lack ofjurisdiction pursuant to 28 U.S.C. §1331, 1441, 2409, 2410, 1746,42 U.S.C.
              1983, double jeopardy,jurisdictional challenge for disqualification of all parties who filed (in
 4            concert) the criminal lawsuit and for dismissal ofthe case based on no jurisdiction.
 5       (6) On October 16,2017 a Request For Judicial Notice. Jurisdictional Challenge In Support of
             Opposition and Objection To Felony Complaint was filed —due to failure to provide verified
 6           evidence ofjurisdiction and how the criminal complaint filed is double jeopardy and in violati
             of our civil rights.
 7
         (7) On October 25, 2017 Affidavit of Bruce Mack was filed —Plaintiffs Affidavit is a jurisdictional
             challenge and statement of facts as to receiving no evidence of a signed arrest warrant by any of
 9           the requested agencies.
         (8) On November 3, 2017 a 2"d Written Request for Copy of Arrest Warrant was filed with the D. A
10           —'Phis is a second written request for the district attorney office to provide a copy of an arrest
11           warrant that Plaintiffs have not received as ofthe date of this complaint due to the fact there is
             none as evident by the Email dated November 13, 2017 from Defendant DuMouchel that staxes,
12           the declaration is essentially the arrest warrant.
13       (9) On November 9, 2017 a Request For Judicial Notice of Exhibit A —Case Print Report was filed
             — To provide proof of Case No. RIF1700487 has been moving forward withoutjurisdiction.
14
              257. In November 2017,Plaintiffs hired Attorney Michael P. Newman to represent them in state
15
      case # RIF 1700487.
16
              258. After more on-going continuances, Plaintiffs informed their state court attorney Michael P.
17
      Newman that we (Plaintiffs) reached out to the California State Attorney General,the Grand Jury, the
18
      Five Boards of Supervisors to have them investigate the case because, Plaintiffs' civil rights are
19
      continuing to be violated.
20
              259. Plaintiffs asked attorney Newman to put in writing what our strategy was. Our attorney
21
      responded in a letter stating that he would be filing a motion to remove himself as our counsel.
22
              260. On July 16, 2018 Defendant Judge David A. Gunn granted the attorney request to be
23
      removed as our counsel, and that Newman's Declaration in support of his motion be granted. Gunn
24
      stated, based on the Declaration, that good cause does exist that there is a conflict and granted
25
      Newman's motion. Plaintiffs never received a copy ofthe Declaration, and were prohibited from
26
      obtaining it by the state court.
27
28



                     CASE NO.:           VERIFIED COMPLAINT FOR DAMAGES                Page 44 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 45 of 76 Page ID #:45




 1           261. On July 16, 2018 after the hearing, Plaintiffs attempted to get a copy ofthe motion and
 2    declaration. After speaking with several Supervisors and informing them that we have a right to have a
 3    copy of what is filed in the case and we received a copy ofthe motion but were informed once again,
 4    that there was no Declaration filed. Plaintiffs discovered several days later that there was a hearing that
 5    had taken place on July 10, 2018 granting a motion to file documents under seal.
 6           262. Plaintiffs were never notified ofthe hearing. Plaintiffs' rights and civil liberties were
 7    continuing to be violated by the harassment of court ordered appearances of Plaintiffs with the state
 8    court ignoring jurisdiction.
 9           263. On July 30, 2018, Plaintiffs attempted to file a motion to request a copy ofthe sealed
10    records. The clerk informed us that she called up to department 61 and she stated judge Gunn said
11    Plaintiffs cannot file any documents into the case.
12           264. On July 30 2018, Plaintiffs completed the form to proceed in pro per and Defendant Judge
13    David A. Gunn denied the request and Judge Gunn denied us our right to get a copy ofthe sealed
14    records to know what said.
15           265. On August 30, 201 S Plaintiffs appeared before Defendant Gunn who continued the pretrial
16    conference to assign Plaintiffs counsel.
17           266. On November 8, 2018 Plaintiffs appeared before Defendant Gunn and Plaintiffs were
18    assigned attorneys by the state court and were ordered back to appear in court on December 13, 2018,
19    without the court having jurisdiction to do so.
20           267. On December 13, 2018 Plaintiffs appeared before Defendant Gunn who continued the
21    pretrial conference. Plaintiffs were ordered by Defendant Gunn to appear back in state court on January j
22    31, 2019 and on March 11, 2019 for jury trial.
23           268. All state court Defendants involved with case no. RIF1700487 could have stopped their
24    misconduct and violation of Plaintiffs' civil rights and constitutionally protected rights, but chose not to.
25    All court defendants and defendants in concert knew or should have known that(1)there was no arrest
26    warrant giving the court jurisdiction over Plaintiffs;(2) court defendants have no jurisdiction to proceed
27    as Plaintiffs were falsely arrested but ignored jurisdiction,(3)violated federal bankruptcy law under 11
28    U.S.C.,(4)filed a false criminal complaint against Plaintiffs over what was factually a civil matter, and



                     CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                 Page 45 of70
      Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 46 of 76 Page ID #:46




                                                                                                  .1~ku~~~ ~f/
  1   causing further injuries to Plaintiffs as we are ordered to appear back in state court on            d~FY~,
  2   201~j, knowing the court has no jurisdiction to be proceeding in state court case no. RIF1700487.

  3           269. All named Defendants involved in the state court case have ignored jurisdiction and are

  4   continuing to violate Plaintiffs' civil and constitutional rights by harassing Plaintiffs by ordering

 5    Plaintiffs to appear in court knowing there was no valid arrest warrant filed in the state court record to

 6    have jurisdiction over Plaintiffs. This is fraud, and all defendants involved with case #RIF1700487 are

 7    involved in the fraud and scheme and racket, as all defendants involved in the state case are knowingly,

 8    willfully committing fraud and are part of the racket.

 9            270. Plaintiffs are seeking remedy as the actions (or non-action) of the D.A. in not

10    Plaintiffs' prior mortgage fraud complaints in 2010 that caused fake deeds to be recorded against Plaintiffs

11    real properties/parcels/land publicly located at 1404 Via Del Rio, Corona, California 92882 and 17201 Bluf

12    Vista Court, Riverside, California 92503 to defendant Trespassers, the Faradjollahs and Richazds, a

13    Plaintiffs are victims of real estate mortgage fraud —criminal fraud related to our real property deeds u

14    which other deeds, grant deed for Corona by the Fradjollahs and grant deed for Riverside by the Richard

15    were fraudulently recorded or were induced by others unknown to us, done without our knowledge o

16    consent that is still clouding our title as of the date of this federal complaint. Defendants all had freewill t<
17    stop the fraudulent acts. Defendants chose not to.

18           271. Plaintiffs are informed and believe that all defendants including trespassers, conspired

19    against them in the unlawful theft and illegal possession of said properties and were in violation of Title

20    18 U.S.C. § 1985(3) Depriving person of rights or privileges which states: "Iftwo or more persons in

21    any State or Territory conspire, or go in disguise on the highway or on the premises of another, for the

22    purpose of depriving, either directly or indirectly, any person or class of persons of the equal protection

23 I ofthe laws, or of equal privileges and immunities under the laws, or for the purpose of preventing or
24    hindering the constituted authorities of any State or Territory from giving or securing to all persons

25 ~I within such State or Territory the equal protection ofthe laws; or to injure any citizen in person or
26    property on account of such support Title 42 U.S.C.;(2)To recover damages from any person who fails

27    to prevent or to aid in preventing any wrongs mentioned in section 1985 of Title 42 which he had

28    knowledge were about to occur and power to prevent;(3)To redress the deprivation, under color ofany



                     CASE NO.:           VERIFIED COMPLAINT FOR DAMAGES                   Page 46 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 47 of 76 Page ID #:47




 1    State law, statute, ordinance, regulation, custom or usage, of any right, privilege or immunity secured by
 2    the Constitution of the United States or by any Act of Congress providing for equal rights ofcitizens or
 3   of all persons within the jurisdiction of the United States;(4)To recover damages or to secure equitable
 4   or other relief under any Act of Congress providing for the protection of civil rights. Such relief is what
 5   Plaintiffs are seeking.
 6           272. The defendants are responsible for the civil rights violations stated in this complaint and
 7    any harm suffered by Plaintiffs as a result. "The passage of time cannot make valid that which has
 8   been void" Review 981 So. 2d at 651(Fla. 4~' DCA 2008) and also M.L. Builders, supra.
 9                        FIRST CAUSE OF ACTION —CIVIL RIGHTS VIOLATIONS
10                                           (Against All Defendants)
        Title 18 U.S.C. Sections 241,242, 1961-1982, 1001 and 1341 as defined by 1346; Title 42 U.S.C.
11     Civil Rights, Sections 1981, 1983, 1985(3)(5), 1986 and 1988, which entitles civil remedies by law
          and deprivation of rights under color of law, statute, regulation, custom and usage of action
12      proper under 28 U.S.C. §§ 1331. Title 28 U.S.C.A. Sections 1341, 1343(a)(1, 2,3, and 4), 1334.
13    Violation of Civil Rights and 4th Amendment Right Violation, Article 1,§13, California Constitution.
        The Right To be Secure From Unreasonable Seizures; 42 U.S.C.§§ 1981,1983,1985 (c)(57,1986,
14       1988; False Imprisonment, Kidnapping, No Jurisdiction, Violation of Plaintiffs Constitutionally
      protected rights secured by the Constitution of the United States America and 1 Sec 32 of California
15
       Constitution that states no right, privilege,immunity or service available to residents of California
16         shall be denied or restricted by any agent or employee of the state of California. There is no
      immunity for any defendant committing the federal violations against Plaintiffs as stated herein and
17                        within the causes of action in this federal complaint listed below
18
             273. Plaintiffs incorporate here each and every paragraph as set forth above.
19
             274. Plaintiffs are informed and believe that each and every Defendant has full knowledge of
20
     wrongdoing, fia.ud, racketeering, aiding and abetting, wire fraud, mail fraud, false claims, false charges —
21
     in violation of the bankruptcy stay and discharge. Defendants and DOES 1 through 100 conspired
22
     devise a scheme to harass, victimize and violate Plaintiffs' 4~' Amendment Right under 42 U.S.C.
23
     1983; and 1985 and Article 1, § 13 of the California Constitution by the filing of a February 7, 2017 felc
24
     complaint that caused an unreasonable seizure and arrest ofPlaintiffs on August 24,2017.
25
            275. Plaintiffs federal violations stated herein Against all defendants who appear to have
26
     '~ against Plaintiffs are believed to have happened to defraud, harass and victimize Plaintiffs and
27
     continuing as ofthe date ofthis federal complaint.
28



                    CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                   Page 47 of70
      Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 48 of 76 Page ID #:48




 1            276. All named defendants appear to have been in concert with the Riverside District

 2    Office(D.A.)that caused said federal violations stated above.

 3            277. Plaintiffs received a letter dated April 1, 2018 from Internal Affairs of the Riverside Polic

 4    Department that stated the Officers exceeded police officer powers (Policy 330.3.5(t)) and that there will be

 5    full investigation into the matter. In other words, there was no arrest warrant, the officers acted witho~

 6    authority to arrest us and have us bought before the state court withoutjurisdiction to do so.
 7            278. Under California law, violating our life, liberty, freedom, and happiness is a civil ri~

 8    violation. According to Article 1, Section 13(d) of the California Constitution the four Riverside Po

 9    Officers in concert with the D.A., Johnson, DuMouchel, Nava and Parker appear to have conspi

10    together to manufacture the C.P.C. § 115 charges against Plaintiffs and all appear to be

11 I, ~ concert/involved in this conspiracy and racket knowing or should have known that there was no

12    warrant for Plaintiffs at the time of arrest, to have been bought before the court which gives the sty

13    court no jurisdiction to be prosecuting state case no. RIF1700487.
14            279. The above named defendants took no precautions to avoid damage and injuries sustained

15    us by their actions (loss of both the 1404 Via Del Rio Corona and 17201 Bluff Vista Court Riversi

16    properties), and failure to disclose exculpatory evidence of Plaintiffs' two prior complaints in 2010 of ci

17    rights violation, mortgage fraud and wrongful foreclosure that was received by the Riverside Distr

18    Attorney Office and another email complaint submitted in June of 2018 with exculpatory evidence that

19    & R Block Bank for the Corona property and Citibank N. A. for the Riverside property did not foreclosf
20    in which their office never responded and refused to investigate the complaints. Therefore, under thi
21    article of the California Constitution, since the named defendants failed to provide honest service an

22    avoid damage and injury to Plaintiffs, each shall be liable for the unnecessary injury that has and i
23    continuing to occur both civilly and criminally in their failure to exercise such precautions as to not
24    cause injury to one ofthe people (Plaintiffs).

25           280. Defendants, the D.A. and the State violated Article 1, Section 17 —Excessive fines may not

26 j imposed. Plaintiffs' bail was set at $165,000.00 for afirst-time, non-violent, criminal offense.

27

28



                     CASE NO.:           VERffIED COMPLAINT FOR DAMAGES                    Page 48 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 49 of 76 Page ID #:49




 1           281. ARTICLE 1 Sec 32 of California Constitution states no right, privilege, immunity or
 2    available to residents of California shall be denied or restricted by any agent or employee of the state
 3    California.
 4           282. Plaintiffs seek remedy under the law Title 42 U.S.C. § 1983, which allows people whose
 5   ,onstitutional rights have been violated by a "person" acting under color oflaw that deprives one ofthe
     ;
 6    people oftheir constitutional rights. Defendants are being sued based on said federal violations and civi:
 7    rights violarion and Plaintiffs seek to be awarded the damages assessed, in addition to compensatory,
 8    punitive damages and other equitable relief in an escalated but justifiable amount to deter all named
 9    Defendants from perpetrating this type of unethical and unprofessional behavior to another one ofthe
10    people in the future.
11           283. Per the federal and racketeering laws, Plaintiffs are lawfully entitled to three times that
12    mount. Plaintiffs are also entitled to just compensation for the takings of property and our rights, w
13    also have value, as defined in Black's Law Dictionary 4t"Edition definition of property.
14           284. Plaintiffs have exhausted all of our administrative remedies with these defendants (excl
15    respasser defendants) the Faradjollahs and the Richards. Therefore, Plaintiffs seek remedy and
16    ~s outlined herein and per the California Constitution Article 1, § 28(13)(A) Declaration of Rights.
17           285. Plaintiffs are seeking $2 Million Dollars against each defendant for violation of Plaintiffs
18    ;onstitutional rights per Section 1983 of the Federal Civil Rights Acts — 42 U.S.C. § 1983, the
19    statute in which Plaintiffs bring this complaint for violation ofour constitutionally protected rights.
20           286. Plaintiffs civil rights and constitutional rights have been violated by Defendants the D.A.
21    end all defendants involved in the state court case, and all named defendants in this complaint and
22 'laintiffs civil rights are continuing to be violated by named defendants arising under federal law;
23    ederal violations of Title 18 U.S.C. Sections 241, 242, 1961-1982, 1001 and 1341 as defined by 1346;
24    Citle 42 U.S.C. Civil Rights, Sections 1981, 1983, 1985(3)(5), 1986 and 1988, which entitles civil
25   remedies by law and deprivation of rights under color oflaw, statute, regulation, custom and usage of
26   action proper under 28 U.S.C. §§ 1331.
27




                    CASE NO.:           VERIFIED COMPLAINT FOR DAMAGES                    Page 49 of70
      Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 50 of 76 Page ID #:50




 1            287. Plaintiffs were deprived ofour civil liberties as our freedom was restricted, interfered with
 2    taken away by the kidnapping and arrest of Plaintiffs on August 24, 2017 caused by the actions of
 3    District Attorney Office in the filing ofthe felony complaint against Plaintiffs on February 7, 2017.
 4            288. All Defendants actions of "bad faith" under color of law and lack of jurisdiction/
 5 ;jeopardy by named defendants, stated within this federal complaint, which is continuing and ongoing,
     ~ ~ Estoppel in order to protect our civil and constitutionally secured rights by parties having UN
 7    HANDS whose evidence of bad faith, filing a false claim, conspiracy, fraud, deception, barratry
 8    criminal violations and other acts of BAD FAITH is all the factual evidence required for enforcement
 9    said amount of assessed damages outlined herein, per Defendant, per each and every violation,
10    Plaintiffs' constitutionally protected rights.
11            289. Defendants: HRBB, and all defendants in concert with said trespass against Plaintiffs ci
12    rights and constitutionally protected rights committed fraud and Defendants: the D.A., and all nan
13    Defendants involved in the state court case #RIF1700487 are participating in that fraud by
14    discovering the facts stated in this complaint prior to filing criminal charges against Plaintiffs based
15    the following:
16            290. Based on the actual fraud committed by Defendants HRBB and Citibank and all defendants
17    involved in said fraud, California law entitles a party to treble damages at the time oftaking against
18    property and title for private lot 46, publicly located at 1404 Via Del Rio, Corona California 92882 and
19    private Lot 30, publicly located at 17201 Bluff Vista Court, Riverside California 92503. The unlawful
20    taking ofPlaintiffs real properties for personal gain by all defendants involved, is a trespass against
21    Plaintiffs' rights.
22            291. Plaintiffs believe the District Attorney's Office bought these charges against Plaintiffs on
23    their own,for issues that have already been raised, settled and adjudicated in federal bankruptcy court.
24    Now the District Attorney's Office bought more charges against Plaintiffs on these same issues of
25    ownership that have already been adjudicated in federal bankruptcy court. This is fraud and a violarion
26    ofa federal bankruptcy discharge order and Plaintiffs' civil rights.
27
28



                       CASE NO.:        VERIFIED COMPLAINT FOR DAMAGES                  Page 50 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 51 of 76 Page ID #:51




 1           292. Defendant The State Court has no jurisdiction over the federal issues. State Court
 2   ignored jurisdiction and is continuing to ignore jurisdiction in violation of Plaintiffs' rights to
 3   process, and in violation of Plaintiffs First, Fourth, Fifth and 14th Amendment Rights.
 4           293. The state court is continuing to order Plaintiffs to appear when defendants the state
 5   DuMouchel and Gunn are willfully, knowingly and unlawfully are moving the state case for
 6 i~ without jurisdiction. This is a violation of Plaintiffs' constitutional protected rights, the right to
    I~
 7 ~, ;process and civil rights violation.
 8           294. Plaintiffs are seeking remedy as the actions (or non-action) of the D.A. in not
 9   or investigating Plaintiffs two complaints in 2010 caused fake deeds to be recorded against Plaintiffs r~
10   property(s) parcel/land publicly located at 1404 Via Del Rio, Corona, California 92882 and 17201 Bl,
11   Vista Court, Riverside, California 92503 to defendant Trespassers, the Faradjollahs and Richards,
12   Plaintiffs are victims of real estate mortgage fraud —criminal fraud related to our real property deed
13   which other deeds were fraudulently recorded or were induced by others unknown to us, done withc
14   our knowledge or consent that is still clouding our title as ofthe date of this federal complaint.
15           295. Plaintiffs are informed and believe that all defendants including trespassers, conspired
16   them in the unlawful theft and illegal possession of said properties and were in violation ofTitle 18 USC,
17   Section 1985(3) Depriving person ofrights or privileges which states: "Iftwo or more persons in any
18   State or Territory conspire, or go in disguise on the highway or on the premises of another, for the purpose
19   of depriving, either directly or indirectly, any person or class of persons ofthe equal protection ofthe laws,
20   or ofequal privileges and immunities under the laws, or for the purpose of preventing or hindering the
21   constituted authorities ofany State or Territory from giving or securing to all persons within such State or
22   Territory the equal protection ofthe laws; or to injure any citizen in person or property on account ofsuch
23   support Title 42;(2)To recover damages from any person who fails to prevent or to aid in preventing any
24   wrongs mentioned in section 1985 of Title 42 which he had knowledge were about to occur and power to
25   prevent;(3)To redress the deprivation, under color ofany State law, statute, ordinance, regulation, custom
26   or usage, of any right, privilege or immunity secured by the Constitution ofthe United States or by any Aci
27   ofCongress providing for equal rights of citizens or of all persons within the jurisdiction ofthe United
28



                    CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                  Page 51 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 52 of 76 Page ID #:52




 1    States;(4)To recover damages or to secure equitable or other relief under any Act of Congress providing

 2    for the protection of civil rights. Such reliefis what Plaintiffs are seeking.

 3            296. The defendants are responsible for the civil rights violations stated in this complaint and

 4    any harm suffered by Plaintiffs as a result. "The passage of time cannot make valid that which has alw

 5   E been void" Review 981 So. 2d at 651(Fla. 4`h DCA 2008) and also M.L. Builders, supra. Plaintiffs

 6    seeking $2 Million Dollars against each defendant for this cause ofaction.
 7
                        SECOND CAUSE OF ACTION —CIVIL RIGHTS VIOLATIONS
 8                                    FRAUD,AIDING AND ABETTING,
                                  CIVIL CONSPIRACY AGAINST RIGHTS
 9                         Title 18 U.S.C., Chapter 47 —Fraud and False Statements
                                             (Against Defendants,)
10

11           297. Plaintiffs incorporate here each and every paragraph as set forth above.

12           298. Each and every Defendant violated Plaintiffs' civil rights, in conspiracy against rights by

13 ~, committing fraud, aiding and abetting in civil conspiracy in violation of Title 18 U.S.C., Chapter 47 —
14   Fraud and False Statements, and in violation of Chapter 7 bankruptcy stay and discharge. Bankruptcy

15   a matter of public record, and is a stay against each and every Defendant, who has to come before the

16   court. Defendants' fraud and harassment against Plaintiffs is continuing and ongoing to Plaintiffs'

17   detriment and injury caused by each and every defendant, the D.A., the State Court, the Sheriff, H & R

18   Block Bank, Citibank and all defendants in concert who violated Article 1 ofthe Uniform Commercial

19   Code (unrefuted affidavit), violated Plaintiffs' inalienable rights afforded to us under the Bill of Rights

20   protected by both constitutions, and trespassed against us, our personal/real property and private land

21   lots that has caused further injury to us by way of ejection conversion, false arrest, wrongful

22   imprisonment and restricted civil liberties. Defendants' injuries caused to Plaintiffs is still ongoing, as

23   Plaintiffs are still being harassed with pending state court appearances, have not been put back in

24   peaceful possession oftheir real properties, nor have Plaintiffs been compensated for our loss

25   law entitles a party to treble damages at the time of taking, trespass).

26           299. Both banks tried to obtain money from us illegally and took our properties knowing the

27   had no right to do so. This is bank fraud, and is a crime.

28



                     CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                 Page 52 of70
      Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 53 of 76 Page ID #:53




  1           300. Defendant DuMouchel,representing the Riverside District Attorney Office, conspired with

  2   Riverside Superior Court Criminal Division Judges) and the four Riverside Police Officers (2 or

  3   persons) in a racket to bring an unlawful complaint that was manufactured and false charges

  4   Plaintiffs and a false arrest. This is a violation of Title 18 U.S.C. § 371, Chapter 19 —Conspiracy

  5   ? Commit An Offense.
  6           301. The misconduct of the defendants in this cause of action appear to be willful
  7   malicious, harassing, hateful and prejudice acts against Plaintiffs by ignoring jurisdiction and

  8   scheduling court appearances, as we are black and minority senior citizens.
 9            302. This conspiracy is continuing, as named defendants DuMouchel and Gunn are still
10    Plaintiffs to appear at court hearings and are ignoring jurisdiction.

11            303. Plaintiffs are seeking $2 Million Dollars against each defendant for this cause ofaction.
12                       THIRD CAUSE OF ACTION - CIVII.. RIGHTS VIOLATIONS
                        Violation of the First, Fourth, Fifth and Fourteenth Amendments:
13                                     RIGHT TO DUE PROCESS OF LAW
14
                            Fifth and Fourteenth Amendment Violation, Article I § 7.
                              The Right To Due Process of Law;42 U.S.C. 1983, 1985
15                           Against all Defendants (involved with state court case)

16            304. Plaintiffs incorporate here each and every paragraph as set forth above.
17            305. Defendants the D.A., Nava and Parker, all employees of the Riverside District Attorney
18    Office, the state court Judge Gunn and the four Riverside Police law enforcement officers all had a part
19    in causing injury to Plaintiffs by the false arrest, manufactured felony charges on a civil matter,
20    fabrication ofstatements, abuse of authority, violation of right of due process, unreasonable seizure and
21    abuse of discretionary power that caused an illegal and false arrest, restriction of civil liberties which is
22    violation of Plaintiffs' civil rights and violation of the 14~' Amendment which secures the right to due
23    process. These criminal offenses are Color oflaw violations under the Federal Bureau ofInvestigation
24 ~ website at www.fbi.gov.

25           306. Defendants the D.A., the state court, Gunn, DuMouchel, Nava, Parker, the Sheriffs
26    Department and the four Riverside Police law enforcement officers failed to keep Plaintiffs from harm
27    and caused injury to Plaintiffs by the unwarranted punishment of a wrongful, false arrest without the
28 ! right of due process.



                     CASE NO.:           VERIFIED COMPLAINT FOR DAMAGES                 Page 53 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 54 of 76 Page ID #:54




 1           307. Defendants the D.A., the state court, Gunn, DuMouchel, Nava, Parker violated Title 1-
 2   Code of Criminal Procedure, Chapter 4, Courts and Criminal Jurisdiction: Article 4.03 No jurisdiction
 3   the sole issue is the constitutionality of the statute or ordinance on which the conviction is based. S
 4 ? court has no jurisdiction as stated by the attached evidence Exhibit List.
 5           308. Defendants the state, the court, the D.A.,the Sheriffs, the P.D., H & R Block Bank, Citibank
 6 ~ ~ and Trespassers(even though trespass against Plaintiffs rights may have been innocent) deprived Plaintiffs
 7   offreedom and civil liberties. The state restricted and forever changed Plaintiffs' lives in violation of42
 8   U.S.C. 1983; 18 U.S.C. §§ 241 and 24Z~Deprivation of Civil Rights and Interference By Threat, Coercion,
 9 1 Intimidation and Harassment Under Color ofLaw. California Civil Code § 52.1. Plaintiffs are seeking $2
10   Million Dollars against each and every defendant for this cause of action.
11                    FOURTH CAUSE OF ACTION -CIVIL RIGHTS VIOLATIONS
                                              RACKETEERING
12 RICO —18 U.S.C.§§ 1961 et seq., Racketeering (Title 18 U.S.C.(RICO)§ 1961,§ 1962(a)(b)(c),§
13 ~, 1963 and § 1964); Discrimination, Hate Crime,Bad Faith, Wire Fraud, Mail Fraud; Deprivation
         of Civil Rights (Title 18 U.S.C.§§ 241 and 242); Concealment, Obstruction of Justice, False
14    Imprisonment,~adnappang, Aiding and Abetting, Civil Conspiracy, Discrimination, Hate Crime,
                    Bad Faith, Deprivation of Civil Rights (Title 18 U.S.C.§§ 241 and 242)
15                                          Against all Defendants
16           309. Plaintiffs incorporate here each and every paragraph as set forth above.
17           310. Named Defendants violated RICO laws and committed racketeering acts against Plaintiffs.
18   Plaintiffs have not received honest services. Plaintiffs were denied adequate legal representation. The
19   wrongful and false arrests of Plaintiffs would not have happened if the D.A., the State, the Sheriff, the
20   P.D., Johnson and Becerra Office had provided honest services by investigating Plaintiffs' complaints
21   and reports, and if they had protected Plaintiffs' civil rights. But or Defendants' fraud and failure to
22   provide honest services and investigate Plaintiffs' reports offraud, Plaintiffs would not still be
23   victimized and continuing to be (emotionally)irreparably injured. Defendants failed to provide honest
24   services —Racketeering as defined by the RICO Act.
25           311. Due to Defendants' lack of action and failure to provide honest services by named
26   Defendants to investigate Plaintiffs' claims by all defendants in concert involved in the trespass against
27   Plaintiffs constitutionally protected rights and civil rights, the Via Del Rio and Bluff Vista properties
28   were seized and wrongfully taken by Attorneys acting on behalfof H & R Block Bank and Citibank, in



                    CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                  Page 54 of70
         Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 55 of 76 Page ID #:55




 1       which the D.A., the State Court and Sheriff received evidence of prior to the filing of the 2017 felony

 2       charges against Plaintiffs. Even though the D.A. was provided with that evidence in June 2017 prior to

 3       the arrests, Plaintiffs were arrested anyway. The D.A., the State Court, Gunn and all defendants acted in
 4       concert to target Plaintiffs in what appears to be a hate crime because all evidence 9~ shows no crime

 5       was committed by Plaintiffs, who were criminally charged on what should have been a civil matter —

     'said evidence has been concealed by the D.A. where the felony charges originated. This fraud on the
 7       state court and concealment of exculpatory evidence in the state case is a racket, a collateral attack

 8       against Plaintiffs, and a crime against humanity.

 9               312. This racket is continuing and on-going because above-named Defendants are responsible for
10       Plaintiffs' injuries due to the wrongful and false arrests and illegal prosecution by the Riverside District

11       Attorney Office and all those in concert. The on-going harassment and injuries sustained by the Plaintiffs
12       would not have happened ifthe Riverside District Attorney Office had not bought manufactured charges

13       against Plaintiffs when their office never investi gated the foreclosure and withheld exculpatory evidence
14       office received from Plaintiffs in 2010 claiming the same C.P.C. § 115 violation that Plaintiffs are allegedly
     j
15       being charged with. This is harassment and a racket. Plaintiffs are seeking $2 Million Dollars against each

16       and every defendant for this cause of action.
17                                        I2IC0 —18 U.S.C.§§ 1951-1962(a)(b)(c)
                                                (Against all Defendants)
18
                313. Plaintiffs incorporate here each and every paragraph as set forth above.
19
                314. Title 18 U.S.C. § 1962. Prohibited activities states:
20
                       (a) It shall be unlawful for any person who has received any income derived, directly or
21
                indirectly, from a pattern of racketeering activity or through collection of an unlawful debt in
22               which such person has participated as a principal within the meaning ofsection 2, Title 18,
                United States Code, to use or invest, directly or indirectly, any part of such income, or the
23              proceeds of such income, in acquisition of any interest in, or the establishment or operation of,
                any enterprise which is engaged in, or the activities of which affect, interstate or foreign
24
                commerce. A purchase of securities on the open market for purposes ofinvestment, and without
25              the intention of controlling or participating in the control of the issuer, or of assisting another to
                do so, shall not be unlawful under this subsection if the securities of the issuer held by the
26              purchaser, the members of his immediate family, and his or their accomplices in any pattern or
27              racketeering activity or the collection of an unlawful debt after such purchase do not amount in
                the aggregate to one percent ofthe outstanding securities of any one class, and do not confer,
28              either in law or in fact, the power to elect one or more directors ofthe issuer.



                        CASE NO.:           VERIFIED COMPLAINT FOR DAMAGES                   Page 55 of70
        Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 56 of 76 Page ID #:56




 1                315. Plaintiffs were injured by reason of defendants' violation of 18 U.S.C. § 1962, in that as a

 2      direct and proximate result of named Defendants' acts, Plaintiffs have suffered, and continue to suffer,

 3      damages including but not limited to, monetary damages and emotional distress, in an amount to be

 4      proven at trial by jury.

 5                316. Pursuant to 18 U.S.C.A. § 1964(c), Plaintiffs are entitled to treble damages sustained to

 6      date, costs of suit, and reasonable legal fees due to Plaintiffs injuries sustained by violation of

 7      § 1962 and other federal violations in this complaint are the reason this civil rights complaint is

 8      bought forth because the United States District court has jurisdiction in these federal crimes.

 9                317. The pattern ofracketeering activity because ofthe conduct of all defendants that conspired

10 ; with the Riverside District Attorney Office against Plaintiffs that caused us injury in 2017 by a wrongful

11 ~ ;'~ and false arrest initiated by the Riverside District Attorney Office consisted of kidnapping, mail and
   ;
12 ; fraud, concealment of exculpatory evidence. These are predicate offenses caused by the Riverside

13 i District Attorney Office within 10 years.

14                318. Plaintiffs are seeking $2 Million Dollars against each and every defendant for this cause

15      action.
                                              RICO —18 U.S.C. §§ 1963 et seq.
16
                                                (Against all Defendants)
17
                  319. Plaintiffs incorporate here each and every paragraph as set forth above.
18
                  320. Title 18 U.S.C. § 1963. Criminal penalties make it clear that ifthe above named Defendants aze
19
        found in violation under(a), the penalties are:"Whoever violates any provision of section 1962 ofthis
20
        chapter shall be fined under this title or imprisoned not more than 20 years(or for life ifthe violation is based
21
        on a racketeering activity for which the maximum penalty includes life imprisonment), or both, and shall
22
        forfeit to the United States, irrespective of any provision of State law."
23 ~
                  321. Defendants' conduct deprived Plaintiffs ofrights, privileges, or immunities guaranteed
24
        under federal law or the Constitution for the united States of America. Sectionl983 makes it clear that
25
       ~ state officials sued in their official capacities are not deemed persons under section 1983, but if sued in
26
       ( their personal capacities, they are considered to be persons.
27
                  322. The Supreme Court has broadly construed the provision "under color of any statute b
28
       ~ the wrongdoer is clothed with the authority of state law," see United States v. Classic, 313 U.S. 299, 61


                         CASE NO.:         VERIFIED COMPLAINT FOR DAMAGES                   Page 56 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 57 of 76 Page ID #:57




 1    S. Ct. 1031, 85 L. Ed. 1368 [1941]. Thus, the wrongdoers named in this RICO statute are continuing

 2    this act because Plaintiffs have suffered, and continue to suffer damages because there has been no

 3    forthcoming satisfaction, restitution or remedy, including but not limited to, monetary damages and

 4    emotional distress, in an amount to be proven at trial by jury.

 5            323. Based on the facts stated herein, Plaintiffs have met the elements to establish a RICO

 6    due to the fact we showed:"(1)a violation of the RICO statutes listed herein, and initially under 18

 7    U.S.C. § 1962;(2) an injury to us by conversion of property; and (3)that the injury was caused by the

 8    violation of § 1962." See De Falco v. Bernas, 244 F.3d 286, 305(2d Cir. 2001); See also Title 18

 9    U.S.C. § 1964(c) that clarifies activities of which affect interstate or foreign commerce; and shows that

10    the predicate acts of racketeering activity by named defendant in the above RICO claim are related, and

11    that they amount to or pose a threat of continued criminal activity. See DeFalco, 244 F.3d at 306.

12            324. If above named Defendants are found in violation under(c), it states, any person injured in his

13    business or property by reason ofa violation ofsection 1962 ofthis chapter may sue therefore in any

14    appropriate United States district court and shall recover threefold the damages he sustains and the cost oftY

15    suit, including a reasonable attorneys fee, except that no person may rely upon any conduct that would have

16    been actionable as fraud in the purchase or sale ofsecurities to establish a violation ofsection 1962.

17   Plaintiffs are entitled to treble damages sustained to date, costs ofsuit, and reasonable legal fees. Plaintiffs

18   are seeking $2 Million Dollars against each and every defendant for this cause of action.

19                                      RICO —18 U.S.C. §§1964 et seq.
                       (Against all Defendants,                      including DOES)
20
             325. Plaintiffs incorporate here each and every paragraph as set forth above.
21
             326. Civil liability arises from 18 U.S.C. § 1964(c)(200) that entitles Plaintiffs, who were
22
     injured by all defendants found in violation of a substantive RICO violation found in § 1962, to recover
23
     treble damages against each guilty defendant.
24
             327. The actions of the Riverside District Attorneys Office in concert in this racket with the
25
     w Riverside Superior Court Criminal Division and Riverside Police Officers caused financial loss
26
     Plaintiffs due to lost wages of Plaintiff Bruce Mack during imprisonment and unnecessary monthly t
27
     ~ payments, personal injury due to health risk of Plaintiff Jamie Mack being hospitalized twice while
28



                     CASE NO.:           VERIFIED COMPLAINT FOR DAMAGES                   Page 57 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 58 of 76 Page ID #:58




 1    custody and again, once released due to shock and elevated life threatening blood pressure, and tc
 2    Plaintiffs for mental anguish, loss of rights, liberties and freedom, emotional distress, life-changi

 3    actions, pain and suffering with pecuniary consequences that caused Plaintiffs injury within the
 4 (t of § 1964(c). Review Diaz v. Parks. Both the criminal and civil components under RICO enti
 5    Plaintiffs to the recovery of damages in triple the amount of actuaUcompensatory damages. Plaintiffs
 6    seeking $2 Million Dollars against each and every defendant for this cause ofaction.
 7                          FIFTH CAUSE OF ACTION - CIVII., RIGI3TS VIOLATIONS
                                Denial of Intangible Services (Title 18 U.S.C.§ 1346)
 8                                Against all Defendants (including Trespassers)
 9              328. Plaintiffs incorporate here each and every paragraph as set forth above for violating
10    Chapter 7 stay and the Chapter 7 discharge. Each of these defendants have NOT filed a Claim with
11    bankruptcy court over Plaintiffs' real properties. Law enforcement and judicial officers had dut
12    prescribed by law, which they did NOT provide to Plaintiffs as honest services as a governor
13    employee. Each and every defendant has knowledge, and have conspired with each other and ac
14    outside the law, which strips theirs of all immunity. Defendants caused Plaintiffs harm.. Plaintiffs nE
15    an accounting and loan documents from each defendant claiming they have an interest in Plaintiffs' r
16    property. Plaintiffs are seeking $2 Million Dollars against each and every defendant for this cause
17    action.
18                         SIXTH CAUSE OF ACTION -CIVIL RIGHTS VIOLATIONS
                                   Intentional Infliction of Emotional Distress
19                                           Against all Defendants
20              329. Plaintiffs incorporate here each and every paragraph as set forth above.
21              330. Each and every defendant has acted deliberately in violation ofthe Chapter 7 stay against
22   Plaintiffs' real properties, and conspired against Plaintiffs, which caused great Health and Safety Risk to
23   be put upon Plaintiffs for no just cause, which is Intentional Infliction of Emotional Distress. Plainriffs
24 ' ~ claim $2 million in damages Against all defendants, who violated Plaintiffs' Constitutionally protected
25   civil rights, for continued malicious, tortuous conduct which has caused injury and deprivation of rights
26   against us and has prevented Plaintiffs from being in peaceful possession of real property we have right
27   and title interest to due to the federal adjudication bankruptcy discharge in favor ofPlaintiffs and have
28



                       CASE NO.:         VERIFIED COMPLAINT FOR DAMAGES                Page 58 of70
       Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 59 of 76 Page ID #:59




 1     the right to seek remedy and restitution for the loss suffered by all defendants continuing acts of
 2     misconduct and violation of federal bankruptcy law and federal/state law.
 3             331. The undue burden ofthe state case and the emotional stress ofPlaintiffs reaching out to
 4     government agencies that are supposed to assist individuals who have been victims of civil rights violations
 5     or victims of crime and failing to get assistance/help from said agencies has affected Plaintiffs emotionally,
       physically, diminished our quality of life by certain restrictions ofour rights and civil liberties, and the
 7     emotional stress of still being ordered to appear in state court knowing the fraud that has been perpetrated
 8     against Plaintiffs by said Defendants and the fact that the emotional distress that Plaintiffs have and is still
 9     going through is harassing, ridiculous, extreme, a collateral attack and a hate crime against Plaintiffs and
10     have suffered Intentional Infliction ofEmotional Distress by all named defendants who have knowingly,
11     willfully, intentionally and recklessly inflicted such emotional distress on Plaintiffs by their malicious
12     conduct and behavior that is the cause ofPlaintiffs claim in this cause ofaction as a result of defendants
13     conduct. Plaintiffs are seeking $2 Million Dollars against each and every defendant for this cause of action.
14                       SEVEN'T'H CAUSE ~F ACTION -CIVIL RIGHTS VIOLATIONS
                          California Government Code § 7.14 Rights Under Administrative
15                              Adjudication and Due Process,§§ 11425.10-11425.60
16                                            Against all Defendants

17             332. Plaintiffs incorporate here each and every paragraph as set forth above.

18             333. Defendants, the D.A. and DuMouchel concealed exculpatory evidence in the state court

19     case no. RIF1700487 that would prove that no crime was committed by Plaintiffs. The named

20     defendants kept the evidence from being known in that state case to Plaintiffs' detriment and has injured

21     and is continuing to cause Plaintiffs injury due to the concealment of that exculpatory evidence that the

22     foreclosure was illegal and the fact that state court is acting without jurisdiction. Each and every

23     defendant conspired and acted with each other to violate Plaintiffs' Chapter 7 stay and discharge.

24     Plaintiffs request all loan documents, mortgage papers, bank statements, etc. Plaintiffs are seeking $2

25     Million Dollars against each and every defendant for this cause of action.

26                       EgGHT~I CAUSE OF ACTION -CIVIL RIGHTS VIOLATIONS
                         Theft, Destruction, Alteration of Court Records (Penal Code 687)
27                                             Against all Defendants
28 I
              334. Plaintiffs incorporate here each and every paragraph as set forth above.


                      CASE NO.:           VERIFIED COMPLAINT FOR DAMAGES                    Page 59 of70
         Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 60 of 76 Page ID #:60




 1               335. Each and every defendant participated and conspired with each other to alter court records,
 2       loan documents, recorded false documents, and conspired with each other to carry out this fraud and
 3       racketeering. Plaintiffs are seeking $2 Million Dollars against each and every defendant for this cause of
 4 i action.
                            NINTI3 CAUSE OF ACTION - CIVII~ RIGHTS VIOLATIONS
                     Violation of Federal Bankruptcy Stay and Discharge 11 U.S.C. 362a and of
                                    Bankruptcy Discharge Due To Chapter 7 Discharge Order
                                    Under § 727 Title 11 of the Bankruptcy Code
 7          Violation of Federal Bankruptcy Stay 11 U.S.C. §362(a), Case No.6:11-BK20377-DS; Double
                              Jeopardy(42 U.S.C. 2000 et seq, Calif. Penal Code 68'n
 8
                                               Against all Defendants
 9
                 336. Plaintiffs incorporate here each and every paragraph as set forth above.
10
                 337. Each and every one ofthese defendants violated the Bankruptcy Stay 11 U.S.C. 362a;
11
         never filed any Claims with the bankruptcy court, and their harassment against Plaintiffs, which is
12
         continuing to cause injury, is continuous and ongoing. Plaintiffs are seeking $2 Million Dollars against
13
         each and every defendant for this cause of action.
14
                             T'~NTH CAUSE OF ACTION -CIVIL RIGHTS VIOLATION
15                                  Request For Accounting of Loan Documents
     J                           Against all Defendants (involved in state court case)
16

17               338. Plaintiffs incorporate here each and every paragraph as set forth above.

18               339. Plaintiffs request an accounting from each and every defendant to produce all loan

19       documents, bank statements, escrow papers, deeds, canceled checks,foreclosure documents, and all

20       accounting of money that was paid and to whom it was paid. Plaintiffs are seeking $2 Million Dollars

21 '- against each and every defendant for this cause of action.

22                        EL~VEleTTH CAUSE OF ACTION -CIVIL RIGHTS VIOLATION
                               Quiet Title Action(28 U.S.C. 2409,2410); Foreclosure
23                                             Against all Defendants
24              340. Plaintiffs incorporate here each and every paragraph as set forth above.

25              341. Each and every defendant has clouded the titles to each of Plaintiffs' real properties by

26       filing false claims, violating the Chapter 7 bankruptcy stay and discharge, filing false documents, filing

27   j false ownership gapers against Plaintiffs' real properties located at 1404 Via Del Rio, Corona California

28       and 17201 Bluff Vista Court, Riverside. Each and every defendant had knowledge of the bankruptcy



                        CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                 Page 60 of70
       Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 61 of 76 Page ID #:61




 1     stay and discharge against defendants and DOE defendants. Defendants acts of false statements
 2     resulting in false arrest and incarceration of Plaintiffs and loss ofPlaintiffs' properties was done
 3 ~ maliciously, knowingly, with hate and moral turpitude. Each and every defendant has failed to follow
 4     HUD guidelines by giving HUD Notice of any Default or Sale of Plaintiffs' real properties. Defendants
 5     Trespassers Abbas S. Faxadjollah and Sohila A. Faradjollah, are believed to have illegally purchased
 6     Plaintiffs' home at 1404 Via Del Rio, Corona, California 92882, due to a title defect. A Title Defect wa:
 7     caused by Defendant HRBB in fraudulently selling the 1404 Via Del Rio Corona property to Trespasser
 8     with no foreclosing rights or authority to do so. Trespassers state in a letter dated October 31, 2014,
 9     attached to Defendant Nava's Initial Narrative that they (the Faradjollahs) purchased and closed escrow
10     on 12/11/2009. This is an illegal transfer/sale by HRBB to Trespassers, the Faradjollahs due to fraud.
11             342. Defendants: The state court, the D.A., the Riverside County Recorder and Riverside
12     County Sheriff Department were aware via certified mail that prior to the filing of the felony complaint
13     against Plaintiffs in 2017 and the filing of additional charges in 2018 that Plaintiffs completed their
14     administrative process (private out-of-court affidavits/correspondence) to HRBB which none ofthese
15 j Defendants responded to provide verified evidence of HRBB and Citibank right to foreclose according
16     to California Foreclosure Law and Defendant Nava and Parker failed to research those administrative
17 '~ documents provided to the Riverside District Attorney Office prior to making their investigative
18 ' reports/narratives and findings. This is fraud and act of bad faith by filing false, incorrect and misleading
19     documents with the state court, illegal trespass, that caused the wrongful taking ofPlaintiffs
20     real/personal property(s) because the D.A. failure to provide honest service and investigate plaintiffs two
21     prior complaints prior to the filing ofthe felony charges against Plaintiffs. This failure to provide honest
22     service is continuing and on-going as Plaintiffs have exhausted all remedy with all defendants involved
23     in the state court case as all the 9 nine in-court documents regarding state court having no jurisdiction
24     due to federal bankruptcy law and no probable cause to charge Plaintiffs with a crime due to having
25     Plaintiffs bought falsely and illegally before the court with no arrest warrant in the court record at the
26 'i time of arrest. The charges against Plaintiffs is a racket, harassment and scheme to deprive Plaintiffs of
27 ' rights afforded to them without just cause.
28 ~



                      CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                  Page 61 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page
                                                         /,_ 62 of 76 Page ID #:62




 1            343. All named defendants including Trespassers should have researched public record prior to
 2    doing what they did in which this fraud is still on-going, which fraud makes Trespassers, the
 3    Faradjollahs and Richards purchase VOID by law.
 4            344. FRAUD. Permitting shown and demonstrated acts of fraud and actively participated in a
 5    scheming conspiracy of untruths and misrepresentations to deceive those who entrusted themselves in
 6    dealing in good faith, while specifically acting in deliberate bad faith when such fraud was shown, as in
 7    the filing of the 2010 civil action and pleadings, in violation of California Penal Code Sec. 532; Title 1 S
 8    U.S.C. § 1001, Title 42 U.S.C.A. § 1983, which acts are criminal.
 9           345. The Chapter 7 Bankruptcy Discharge of Debtor Order was adverse to the District Attorney's
10    Office filing the felony complaint stating Plaintiffs lost the property to foreclosure when the fact that the
11    federal bankruptcy courts final determination is to have Plaintiffs set a court date in the United Stated
12    District Bankruptcy Court, Central District, to file a motion/order to recover un-administered assets,
13    including real properties, the 1404 Via Del Rio, Corona and 17201 Bluff Vista Court, Riverside property
14    back to Plaintiffs. Plaintiffs did not receive just compensation for the unlawful taking of both properties,
15    which is in violation of Plaintiffs civil rights and constitutionally protected rights under 28 U.S.C. §
16    1746 and 42 U.S.C. § 1983, 28 U.S.C. § 2409 , § 2409(a) and § 2409(fl because the federal bankruptcy
17 ' court has exclusive and original jurisdiction of actions under 2409a to quiet title which Plaintiffs are
18    entitled to, because ofthe chapter 7 discharge order.
19           346. Sincz it appears that all named Defendant Trespassers the Faradjollahs and Richards may
20    have un-clean hands and acted in bad faith, Plaintiffs are entitled, under Article I, Section 13 of the
21    California Constitution to receive restitution or recovery ofthe premises) back to Plaintiffs from
22 ': Defendant Trespassers and Tortfeasors.
23           347. Plaintiffs believe that all named Defendants unlawfully conspired to deprive Plaintiffs of
24 ~i their First, Fourth, Fifth and Fourteenth Amendment Rights, Constitutionally protected rights, and have
25    deprived and is continuing to deprive Plaintiffs(ownership rights and interest entitled by the federal
26   bankruptcy discharge) ofthe use and enjoyment, benefit and privileges ofPlaintiffs' real properties.
27           348. The filing of the felony charges against Plaintiffs by the D.A. was done in bad faith, is
28 f fraudulent concealment, misconduct and improper activity by said defendants, which such fraudulent



                     CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                 Page 62 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 63 of 76 Page ID #:63




 1   concealment renders any contract (i.e. felony complaint/First Amended Information, reports made by or
 2   on behalfofthe D.A.) where fraud has taken place and debt owed against said mortgage loans as "void."
 3           349. Plaintiffs axe seeking this court to uphold our constitutionally protected rights under both
 4 ( the United States of America and California Constitutions, and U.C.C. Law in this federal complaint and
 5   apply the law, as jurisdictional defects require correction regardless whether the errors were raised in
 6   district court, see United States v. Cotton, 535 U.S. 625,630(2002).
 7           350. The Federal Rules of Evidence and State Rules of Evidence are clear that there must be a
 8   competent first hand witness(a body). Therefore, Plaintiffs request this court to take judicial notice of
 9   the attached Exhibits per Evidence Code, Rule 201— Judicial Notice of Adjudicated Facts, to support
10   this complaint. The attached Exhibits have not been disputed under this evidence code. Plaintiffs are
11   seeking $2 Million Dollars against each and every defendant for this cause of action.
12                   TVVELFT~I CAUSE OF ACTION -CIVIL RIGHTS VIOLATION
        Removal from Superior Court to Federal Court for no jurisdiction and double jeopardy,Rules of
13       Civil Procedure Rule 81 Applicability ofthe Rules in General; Removed Actions D.A.# 356353
14         Criminal Case No.: RIF1700487 filed 02/07/2017; violation of Chapter 7 bankruptcy stay
                                            Against all Defendants
15
             351. Plaintiffs incorporate here each and every paragraph as set forth above.
16
             352. Plaintiffs are requesting that the criminal case D.A.# 356353, No.: RIF1700487 be removed
17
     federal court under Rule 81 for violating Plaintiffs' constitutionally-secured rights, violating Plaintiffs'
18
     process rights, and for violating banking laws. Each and every one of these defendants have full know:
19
     that the state criminal case against Plaintiffs is being brought on behalf ofthe mortgage companies to h
20
     Plaintiffs by false charges, false arrest, and defamation of character and putting Plaintiffs in jail over
21
     real property by the very defendants in this complaint violating the bankruptcy stay. The District
22
     for the County of Riverside has full knowledge of the racketeering and using the state court to aid and
23
     racketeering, mail fraud, wire fraud, deprivation ofrights under color, and fraud. Ifthe District Attorney
24
     a problem with the Chapter 7 and the bankruptcy stay and discharge, which the state court has
25
     knowledge, it should have been brought as a civil matter. The state court had no jurisdiction. That's
26
     federal issue under 2409 and 2410. It must be a judicial sale by the court, and NOT by defendants doing
27
     foreclosure and selling the properties. Each and every one ofthese defendants must explain to the court ho
28
     were they able to foreclose, then sell Plaintiffs' real properties without getting a judicial ruling from


                    CASE NO.:           VERIFIED COMPLAINT FOR DAMAGES                   Page 63 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 64 of 76 Page ID #:64




 1    federal court. The real properties are federal issues, and must go through HUD guidelines Plaintiffs
 2    seeking $2 Million Dollars against each and every defendant for this cause of action.
 3                                     PLAINTIFFS'EXHIBITS
   ', EXHIBIT A (Chapter 7 Discharge of Debtor), EXHBIT B (Certification of Notice of Chapter 7 to
 4 ', all Parties), and EXHIBIT C(Superior Court of California County of Riverside D.A.#365353
 5                  Case No.: RIF 1700487 Felony Complaint) Under Evidence Code 201
             353. See attached EXHIBITS in support of Plaintiffs' verified complaint. EXHIBIT A is
 6
      DISCHARGE OF DEBTOR,giving notice to all known Defendants and unknown Defendants, and is a
 7
      matter ofpublic record. Not one ofthese Defendants objected to the discharge or filed a Claim with the
 8
      bankruptcy court. EXHIBIT B is CERTIFICATION OF NOTICE to all Defendants from the
 9
      bankruptcy court of the discharge and notice. Again, not one ofthese Defendants filed a Claim with the
10
      bankruptcy court under Title 11 U.S.C. § 341(a). EXHIBIT C is the SUPERIOR COURT OF
11
      CALIFORNIA COUNTY OF RIVERSIDE, D.A. #365353, Case No.: RIF 1700487 FELONY
12
      COMPLAINT. There is nothing in this Complaint that shows that avictim — an injured human —filed a
13
      complaint with the state of California. There is NOTHING that shows that a natural person filed a
14
      complaint with the District Attorney's office. Supervising Deputy District Attorney Stephanie B.
15
      Weissman and Defendant Michael A. Hestrin, District Attorney must bring before this Court what
16
      victim filed a verified complaint against Plaintiffs. Stephanie B. Weissman has knowledge of what each
17
     and every one of these Defendants is doing —using state court facilities as a racketeering enterprise.
18
     j This EXHIBIT C shows that this criminal complaint, brought in the name ofthe People ofthe State of
19
     California, is not backed by a verified complaint, shows that it is a personal vendetta against Bruce and
20
     '. Jamie Mack, and shows that this criminal complaint is being used by Defendants to steal Plaintiffs' real
2Z
     properties and operate the state court as a racketeering enterprise. There is nothin in the bankruptcy
22
     i court that shows that a Claim for ownership ofthe real properties was filed by any of these Defendants.
23
     This EXHIBIT C shows that THE PEOPLE OF THE STATE OF CALIFORNIA are violating the
24
     Rooker-Feldman Doctrine by bringing a criminal case on a civil matter and issues that have been
25
     brought before the bankruptcy court in Plaintiffs' Chapter 7 under Title 11 U.S.C. §§ 362(a) and 341(a).
26
     Defendants used retired judges to carry out this fraud and racketeering. Based on the foregoing,
27
     Plainriffs pray for each cause of action against each and every defendant for $2 million dollars to make
28



                    CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                  Page 64 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 65 of 76 Page ID #:65




      Plaintiffs whole for their pain and suffering, for false imprisonment, defamation of character, for

      violation of all their rights, and for Defendants' violations of the following:.
 3            CONSPIRACY. A confederation oftwo or more individuals who may not know each other but,
              by their joint efforts, commit some unlawful or criminal act(Black's Law Dictionary). Multiple
 4            officials, agents and other persons named properly noticed by the attached COMMERCIAL
 5            AFFIDAVIT,and un-named who under a cover of official right and appearance and color of law
              continued to perform such acts to continue to raise revenue by fraud and extortion, for any so-
 6            called governmental function.(Cal Penal Code Sec. 182, California Racketeering Act —Cal
              Penal Code Sec. 186; 18 U.S.C. 241, Federal Racketeering Act, 18 U.S.C. 1961 et. seq.) This
 7            applies to all defendants named in this complaint.
 8            RACKETEERING. Is the combination ofthe above identified crimes. Title 18 United States
              Codes Section 1961 (RICO)defines it as involving a host of patterned criminal actions as stated
              above and herein. Defendants criminal actions are filed and recorded in public record.
10            FALSE DOCUMENTS. Accepting false documents that are known not to be true or known to be
              false to falsely condemn the party under a color of law without benefit of a lawful trial, to raise
11
              revenue by stealing monies of the party and giving it directly to a foreign agent by such false
12            condemnations (California Penal Code Sec 134; Title 18 U.S.C. 1001).

13            GRAND THEFT. By such actions offraud, civil rights violations and extortion, the monies
              stolen, the money made off the state court cases or damages sustained by such actions totaled
14            over $400 under a guise oftaxes, fines and/or penalties under a color of law for exercising one's
              inalienable/unalienable rights (C.P.C. § 487; 18 U.S.C. §§ 641, 2311).
15

16            354. Plaintiffs seek remedy and settlement under Federal Rules of Evidence and the U.C.C. laws

17    for this court to protect their rights and render a decision on all recorded verified evidence herein, apply

18    the law under Title 28 U.S.C. Rule 69 for writ of execution and issue an Order for Money Judgment for

19    damages sought by all defendants named within this cause of action and the return, transfer and/or

20    replacement cost of confiscated real propeRy(s) according to the law, see Miami Motor Sales v.

21    Singleton, Ohio Mun.,94 N.E.2d 819, 822.

22           355. Plaintiffs seek to obtain permanent injunctive relief, rescission/full reconveyance ofthe

23    mortgage contracts; recovery, refund of monies paid and other equitable relief afforded to the Plaintiffs

24    for Defendants' violations of federal statutes Title 15 U.S.C. § 45(a), which prohibits unfair or deceptive

25    practices in or affecting commerce; as well as other federal trade commission and criminal acts or

26    practices misrepresented by all liable defendants.

27           356. Plaintiffs are seeking $2 Million Dollars against each and every defendant for each cause

28    action. WHEREFORE,Plaintiffs pray for:



                     CASE NO.:          VERIFIED CONII'LAINT FOR DAMAGES                 Page 65 of70
       Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 66 of 76 Page ID #:66



           a) Assessed amount of damages against each Defendant as stated in this cause of action at time of
 1
              trial by jury of Plaintiffs' peers;
 2         b) Punitive damages as the court deems just and proper;
 3         c) Monetary damages in the amount according to proof at trial;
 4         d) For compensatory and statutory damages according to proof at trial;

 5 ~       e) For an order and judgment stating that the Deed of Trust and the Trustees Deed are adjudged
              void and of no legal force and effect and shall be cancelled, stricken, and or rescinded forthwith;
 6 1
           fl To void all publically recorded false documents by defendants) and all other parties acting under
 7 '          color oflaw, or in Concert with Defendants)that are encumbering said property(s) and issue an
              order to all defendants to prevent defendants from selling or attempting to sell or causing to be
 8            sold the Via Del Rio and Bluff Vista Court property(s);
 9         g) That Plaintiffs be awarded the monetary damages in the amount stated in the affidavits and
              recorded liens according to proof at trial;
10
           h) That Plaintiffs be awarded statutory damages for Unfair Debt Collection practices and violations
11            ofthe U.C.C., federal banking and California law;

12         i) For interest at the prevailing legal rate of interest accrued on any damages awarded to the extent
              permissible under the law;
13
           j) For exemplary and punitive damages in an excessive amount appropriate to punish defendants)
14            and all those in concert in hopes of deterring others from engaging in similar misconduct;

15         k) For the right or restitution and recovery of every dollar defendants) HRBB and Citibank gained
              from the sale and use of Bruce Mack and Jamie Yvonne Mack's name or any derivative thereof
16            and their signature;
17         1) For corrective actions to have HRBB and Citibank restore Bruce Mack and Jamie Yvonne
              Mack's credit rating and FICO score at all agencies reported to prior to HRBB and Citibank
18            notice of default from date recorded;
19         m)That Defendants) and all those in concert be investigated for all stated violations of state and
             federal civil law, RICO and all criminal conduct;
20
           n) Punitive damages as the court deems just and proper;                                                  I
21
           o) Monetary damages in the amount according to proof at trial;
22         p) For compensatory and statutory damages according to proof at trial; and                               ~
23         q) For exemplary damages in an amount sufficient to punish Defendants' wrongful conduct and
              deter future misconduct; and
24
           r) Court costs incurred herein.
25 ~
       i FIRST CAUSE OF ACTION: Violation of Civil Rights (Title 42 U.S.C.A §§1981, 1983, 1985: False
26

27     Imprisonment, Kidnapping, No Jurisdiction, Personal Injury Thatjudgment be entered in Plaintiffs'

       favor and against Defendants, and each of them for $2 million dollars.
28



                     CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                Page 66 of70
          Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 67 of 76 Page ID #:67




             a) Assessed amount of damages against each Defendant as stated in this cause of action at time of
                trial by jury ofthe Bruce and Jamie Mack's peers;
             b) Punitive damages as the court deems just and proper;
             c) Monetary damages in the amount according to proof at trial;
             d) For compensatory and statutory damages according to proof at trial;
             e)~ For exemplary damages in an amount sufficient to punish Defendants' wrongful conduct and
                 deter future misconduct; and
             fl Court costs incurred herein.

          SECOND CAUSE OF ACTION: Fraud, Bad Faith Thatjudgment be entered in Plaintiffs' favor and
          against I~efendants, and each of them for $2 million dollars.
  g 4:
             a) For assessed amount of damages against each Defendant for each violation that occurred against
10 ~ '.         Plaintiffs Bruce Mack and Jamie Yvonne Mack;
11           b) For Monetary damages in the amount according to proof at trial;

12 ~         c) For compensatory and statutory damages according to proof at trial; and
             d) For exemplary damages in an amount sufficient to punish Defendants' wrongful conduct and
13 ~ a          deter future misconduct.
14
       THIRD CAUSE OF ACTION: Violation of the First, Fourth, Fifth, Sixth, Thirteenth, and Fourteenth
15 ~ am
         endments Thatjudgment be entered in Plaintiffs' favor and against Defendants, and each ofthem for
16 i
   ~ $2 million dollars.
17
     a   a) For an order and judgment stating that the Deed of Trust and the Trustees Deed are adjudged
18          void and of no legal force and effect and shall be cancelled, stricken, and or rescinded forthwith;
19           b) To void all publically recorded false documents by defendants) and all other parties acting under
                color of law, or in Concert with Defendants)that are encumbering said property(s) and issue an
20              order to all defendants to prevent defendants from selling or attempting to sell or causing to be
                sold the Via Del Rio and Bluff Vista Court property(s);
21
             c) That Plaintiffs Bruce Mack and Jamie Yvonne Mack be awarded the monetary damages in the
22 E            amount stated in the affidavits and recorded liens according to proof at trial;
23 t         d) That Plaintiffs Bruce Mack and Jamie Yvonne Mack be awarded statutory damages for Unfair
                Debt Collection practices and violations ofthe U.C.C., federal banking and California law;
24
             e) For interest at the prevailing legal rate of interest accrued on any damages awarded to the extent
25 j            permissible under the law;
26 ~         fl For exemplary and punitive damages in an excessive amount appropriate to punish defendants)
   '{           and all thcse in concert in hopes of deterring others from engaging in similar misconduct;
27
28 ~ ~



                        CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES               Page 67 of70

     [J
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 68 of 76 Page ID #:68
                                 !~                                        r

          g) For the right or restitution and recovery of every dollar defendants) HRBB and Citibank gained
 1
             from the sale and use of Bruce Mack and Jamie Yvonne Mack's name or any derivative thereof
 2           and their signature;
          h) For corrective actions to have HRBB and Citibank restore Bruce Mack and Jamie Yvonne
 3
             Mack's credit ratings and FICO score at all agencies reported to prior to HRBB and Citibank
 4           notice of default from date recorded;

 5        i) That Defendants) and all those in concert be investigated for all stated violations of state and
             federal ci~~il law, RICO and all criminal conduct;
 6
         j) Punitive damages as the court deems just and proper;
 7        k) Monetary damages in the amount according to proof at trial;
 8        1) For compensatory and statutory damages according to proof at trial; and
 9        m)For exemplary damages in an amount sufficient to punish Defendants' wrongful conduct and
            deter future misconduct.
10 '
   ` '~ FOURTH CAUSE OF ACTION: Racketeering (Title 18 U.S.C.(RICO)§1961, §1962(a)(b)(c), §1963
11 i !
        and §1964); Discrimination, Hate Crime, Bad Faith, Wire Fraud, Mail Fraud; Deprivation of Civil
12
        Rights (Title 18 U.S.C. §§ 241 and 242); Concealment, Obstruction of Justice; Aiding and Abetting,
13
        Civil Conspiracy. That judgment be entered in Plaintiffs' favor and against Defendants, and each of
14
     'them for $2 million dollars.
15
           a) For an order and judgment stating that the Deed of Trust and the Trustees Deed are adjudged
16
                void and of no legal force and effect and shall be cancelled, stricken, and or rescinded forthwith.
17         b) For damages, disgorgement, and injunctive relief under California's common and statutory law
18              of unfair business practices.
          c) For compensatory and statutory damages, legal fees and costs according to proof at trial.
19
          d) For monetary damages in the amount according to proof at trial;
20
          e} For compensatory and statutory damages according to proof at trial; and
21        fl For exemplary damages in an amount sufficient to punish Defendants' wrongful conduct and
22           deter future misconduct.

23    FIFTH CAUSE OF ACTION: Denial ofIntangible Services 18 U.S.C. § 1346. Thatjudgment be
24    entered in Plaintiffs' favor and against Defendants, and each of them for $2_ million dollars.
         a) Monetary damages in the amount according to proof at trial;
25
          b) For compensatory and statutory damages according to proof at trial; and
26
          c) For exemplary damages in an amount sufficient to punish Defendants' wrongful conduct and
27           deter future misconduct.
28



                     CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                  Page 68 of70
     Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 69 of 76 Page ID #:69




 1   SIXTH CAUSE OF ACTION: Intentional Infliction of Emotional Distress; Personal Injury. That

 2   judgment be entered in Plaintiffs' favor and against Defendants, and each of them for $2 million dollars.

 3   SEVENTH CAUSE OF ACTION: California Government Code § 7.14 Rights Under Administrative

 4   Adjudication and Due Process, California Government Code §§11425.10-11425.6. Thatjudgment be

 5 s entered in Plaintiiis' favor and against Defendants, and each of them for $2 million dollars.

 6   EIGHTH CAUSE OF ACTION: Theft, Destruction Alteration of Court Records(Penal Code 687). That

 7   judgment be entered in Plaintiffs' favor and against Defendants, and each of them for $2 million dollars.

 8   NINTH CAUSE OF ACTION: Violation of Federal Bankruptcy Stay and Discharge 11 U.S.C. §362(a),

 9   Case No. 6:11-~K-20377-DS; Double Jeopardy(42 U.S.C. 2000 et seq, Calif. Penal Code 687). That
10   judgmenti be entered in Plaintiffs' favor and against Defendants, and each ofthem for $2 million dollars.

11 ,TENTH CAUSE OF ACTION: Accounting. That judgment be entered in Plaintiffs' favor and against

12     Defendants, and each of them for $2 million dollars.
   ~.
13 ~ ' ELEVENTH CA7iJSE OF ACTION: Quiet Title Action, 28 U.S.0 § 2409,2410; Foreclosure. That
14   judgment be entered in Plaintiffs' favor and against Defendants, and each ofthem for $2 million dollars.

15       a) For an order and judgment quieting title to the Property;

16       b) To quiet title in favor of Bruce and Jamie Yvonne Mack against all Defendants and each ofthey
         c) For recovery of 1404 Via Del Rio, Corona and 17201 BlufF Vista Court Riverside property and
17
            treble damages according to C.C.C.P. § 33333,et seq;
18       d) Monetary damages in the amount according to proof at trial;
19       e) For compensatory and statutory damages according to proof at trial; and
20       fl For exemplary damages in an amount sufficient to punish Defendants' wrongful conduct and
            deter future misconduct.
21
         g) For Court cost incurred herein; and
22       h) For such other and further equitable relief, declaratory relief and legal damages as maybe
23          permitted by law and as the court may consider just and proper.

24   TWELFTH CAUSE OF ACTION: Removal from Superior Court to Federal Court for no jurisdiction and
25   double jeopardy, Rules of Civil Procedure Rule 81 Applicability ofthe Rules in General; Removed Actions
26   D.A.# 356353 Criminal Case No.: RIF1700487 filed 02/07/2017; violation of Chapter 7 bankruptcy stay.
27   Thatjudgment be entered in Plaintiffs' favor and against Defendants, and each of them for $2 million
28   dollars.



                   CASE NO.:          VERIFIED COMPLAINT FOR DAMAGES                Page 69 of70
        Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 70 of 76 Page ID #:70
                                  (                                          ~




            a) For an order removing criminal case to federal court;
 1
            b) For an order that the state criminal case against Plaintiffs is void;
 2
            c) Monetary damages in the amount according to proof at trial;
 3 aa
            d) For compensatory and statutory damages according to proof at trial; and
 4          e) For exemplary damages in an amount sufficient to punish Defendants' wrongful conduct and
 5             deter future misconduct.
           fl For Court cost incurred herein; and
 6
            g) For such other and further equitable relief, declaratory relief and legal damages as maybe
 7             permitted bylaw and as the court may consider just and proper.
 8
                                                  DEMAND FOR JURY TRIAL
 9
               357. Plaintiffs Bruce Mack and Jamie Yvonne Mack demand trial by a jury of their peers.
10
        Plaintiffs reserve their rights to Amend this verified complaint. Plaintiffs' Complaint is Verified, so all
11
        Defendants are required to veri    their answers Title 28 section 1746.
12
               358. We,Plaintiffs Bruce Mack and Jamie Yvonne Mack, declare under penalty of perjury,
13
        under the laws of the United States of America that the above is true, correct, and complete to best of our
14 i
        knowledge and that this Complaint is executed at Riverside California.
15
                                                ;
                                                ~o ti
16             Dated: In the year of our Lord:~day of December,2018

17 i'
1 g '~ All Rights Reserved, Without Prejudice                 All Right          ved, Without Prejudice

19 '.
        By:                                                                  ~~.
20        Bruce Mack, In Propria Persona                         Jamie     onne Mack,
21
22
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24
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26
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28



                      CASE NO.:           VERIFIED COMPLAINT FOR DAMAGES                 Page 70 of70
    Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 71 of 76 Page ID #:71
    Case 6:11-bk-20377-DS ,oc 106 Filed 09/20/13 Entered, 20/13 22:07:48                                                Desc
                               I maged Certificate of Notice Page 3 of 4
 B18(Official Form 18)(12/1 l)

                                          United States Bankruptcy Court
                                            Central District Of California
                                         3420 Twelfth Street, Riverside, CA 92501-3819


                                              DISCHARGE OF DEBTOR
     DEBTOR INFORMATION:                                                          BANKRUPTCY NO. 6:11-bk-20377-DS
     Jamie Yvonne Mack
     aka Jamie Yvonne Mack                                                  CHAPTER 7
     Last four digits of Social-Securi or Individual Taxpayer-Identification (ITIN) No(s).,(If any): xxx-xx-6292
     Employer Tax-identification (EIN~No(s).(if any): N/A
     Debtor Discharge Date: 9/18/13


     Address:
     PO Box 684
     Corona, CA 92878

      It appearing that the debtor is entitled to a discharge, IT IS ORDERED:The debtor is granted a discharge under section 727
 of title 11, United States Code,(the Bankruptcy Code). SEE THE BACK OF THIS ORDER FOR EXCEPTIONS AND OTHER
 IMPORTANT INFORMATION.




                                                                                 BY THE COURT,


  Dated: September 18, 2013                                                      Kathleen J. Campbell
                                                                                 Clerk of the Court




' Set forth all names, including trade names, used by the debtors) within the last 8 years. Forjoint debtors, set forth the last
four digits of both social-securrty numbers or individual taxpayer-identification numbers.




 (Form b18—DIS Rev. 12/2011) VAN-30                                                                                 104 - 29 / MAL




                                                  Exhibit A(2 pages)                                                        ~~ ~ ~
   Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 72 of 76 Page ID #:72
     Case 6:11-bk-20377-D(~ hoc 106 Filed 09/20/13 Enterea ~y/20/13 22:07:48                                     Desc
BIS (Official Form I8)Cont.
                            Imaged Certificate of Notice Page 4 of 4
Rev.(12/l l)



                                 EXPLANATION OF BANKRUPTCY DISCHARGE
                                          IN A CIiAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal ofthe case and it
does not determine how much money,if any,the trustee will pay to creditors.

collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor.[In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a banlQuptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However,a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankniptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is dischazged. Most, but
not all, types of debts are discharged if the debt existed on the date the banlmiptcy case was filed.(Ifthis case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7,the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts That are Not Discharged.

        Some ofthe common t}+pes of debts which are ~t discharged in a chapter 7 bankruptcy case are:

         a• Debts for most taxes;
         b. Debts incurred to pay nondischazgeable taxes;
         ~• Debts that are domestic support obligations;
         d• Debts for most student loans;
         e• Debts for most fines, penalties, forfeitures, or criminal restitution obligations;
         f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
             while intoxicated;
         g• Some debts which were not properly listed by the debtor;
         h. Debts that the bankruptcy court, under section 523 ofthe Bankruptcy Code or other applicable law,
             specifically has decided or will decide in this bankn~ptcy case are not dischazged;
          i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
             compliance with the Bankruptcy Code requirements for reaffirmation of debts; and
         j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
             Plan for federal employees for certain types ofloans from these plans.

       This information is only a general summary of the bankruptcy discharge. There are exceptions to these general
rules. Because the law is complicated, you may want to consult an attorney to determine the exact effect ofthe
discharge in this case.




                                                                                                                     ~'~ 7Z,
       Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 73 of 76 Page ID #:73
        Case 6:11-bk-20377-D_~ roc 106 Filed 09/20/13 Enterer .,,,,20/13 22:07:48                        Desc
                              I maged Certificate of Notice Pale 1 of 4
                                   nited States      Bankruptcy Curt
                                      Central District of California
In re:
Jamie Yvonne Mack                                                                        Case No. 11-20377-DS
         Debtor                                                                          Chapter 7
                                         CERTIFICATE OF NOTICE
District/off: 0973-6            User: smalcolmC              Page 1 of 2                   Date Rcvd: Sep 18, 2013
                                Form ID: b18                 Total Noticed: 44

Notice by first class mail was sent to the following persona/entities by the Bankruptcy Noticing
                                                                                                       Center on
Sep 20, 2013.
db           +Jamie Yvonne Mack,     PO Box 684,      Corona, CA 92878-0684
cr           +Citibank, N.A.,     c/o Robert J. Jackson & Associates, Inc.,       4199 Campus Drive,   Suite 700,
               Irvine, CA 92612-4698
29063937     +American Home Mtg Sere,      PO Box 631730,     Irving TX 75063-0002
29063941     +Chase,    PO Box 24696,     Columbus OH 43224-0696
29341394     +Citibank NA Trustee For Merilly Lynch Investments,        c/o Jamie Y Mack,    PO Hox 684,
               Corona, CA 92878-0684
29063942     +Citifinancial Retail Serv,       PO Box 499,    Hanover, MD 21D76-0499
29063. 57     Collection Consultants,      100 San Fernando Rd #211,     Glendale CA 91201
29063955     +Corona Regional Medical,      800 South Main Street,     Corona CA 92882-3420
29412339     +Corona Regional Medical Center,       800 South Main Street,     Corona CA 92882-3420
29395710      GCFS INC,    PO BOX 3470,     PASO ROBLES CA 93447-3470
29063943     +Greater Cal Fin Svcs,     PO Box 3470,      Paso Robles CA 93447-3470
29063938     +H&R Block,    450 American St #SV416,       Simi Valley CA 93065-6285
29848293      HOUSEHOLD FINANCE CORPORATION OF CALIFORNIA,        P 0 BOX 10490, VIRGINIA BEACH, VA 23450
29063944     +HSBC/Household Fin,     PO Sox 3425,      Buffalo NY 14240-3425
29063945     +HSBC/Household Fin,     PO Box 5253,      Carol Stream IL 60197-5253
29063946      HSBC/Mitsubichi,     PO Box 15524,     Wilmington DE 19850
29063952     +Home Depor/Citibank,     PO Box 6497,      Sioux Falls SD 57117-6497
29063960     +Hunt & Henriques,     151 Bernal Road Suite 8,      San Jose CA 95119-1491
29063947     +Main Street Acquici,     2877 Paradise Rd Unit 303,      Las Vegas NV 89109-5239
29063959     +Medical Center of Women,      1950 Sunny Crest ~r #2800,     Fillerton CA 92835-3641
29063948    #+Meridian Financial,     21 Overland industrial Blvd,      Ashville NC 28806-1376
29412340     +Northland Group,     PO Box 390846,      Minneapolis MN 55439-0846
29063961     +Northland Group Inc,     PO Box 684,      Corona CA 92878-0684
29063950    ++PROSPER FUNDING LLC,     101 2ND STREET 15TH FLOOR,      SAN FRANCISCO CA 94105-3672
             (address filed with court: Prosper Marketplace,         111 Sutter St F1 22,    San Francisco CA 94104)
29063949     +Portafolio Recovery,     120 Corporate Blvd Ste 100,      Norfolk VA 23502-4962
29412338     +Quest Diagnostic,     PO Box 7400,     Pasadena CA 91109-7400
29063954     +Quest Diagnostics,     PO Box 684,     Corona CA 92878-0684
29063951     +Rash/Curtis & Assoc,     190 S Orchard Av #250,      Vacaville CA 95688-3647
28967769     +SAINT JUDE  MEDICAL  CENTER,    101 E VALENCIA MESA DR,     FUI~LERTON CA 92835-3809
29063953     +Wescon Credit  Union,    PO  Hox  7097,    Pasadena CA 91109-7097

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg           EDI: EDD.COM Sep 19 2413 01:53:00      Employment Development Dept.,    Bankruptcy Group MIC 92E,
               P.O. Box 826880,    Sacramento, CA 94280-0001
smg           EDI: CALTAX.COM  Sep 19 2013 01:53:00     Franchise Tax Board,    Bankruptcy Section MS: A-340,
               P.O. Box 2952,    Sacramento, CA 95812-2952
29063956     +EDI: AARGON.COM Sep 19 2013 01:53:00      Aargon Agency,   3025 W Sahara Ave,
               Las Vegas NV 89102-6094
29247985     +EDI: OPHSUBSID.COM Sep 19 2013 01:53:00      CANDICA L.L.C.,    C 0 WEINSTEIN AND RILEY, PS,
               2001 WESTERN AVENUE, STE 400,    SEATTLE, WA 98121-3132
29063940     +EDI: CAPITALONE.COM Sep 19 2013 01:53:00      Capital One,   PO SOx 30281,
               Salt Lake City UT 84130-0281
29063939     +E-mail/Text: bankruptcy~cashcall.com Sep 19 2013 02:O1:Q9       Cash Call Inc,   1600 S Douglas Rd,
               Anaheim CA 92806-5951
29412337     +EDI: CIAC.COM Sep 19 2013 01:53:00      Citimortgage,   PO Box 9438 Dept 0251,
               Gaithersburg MD 20898-9438
29412336     +EDI: HFC.COM Sep 19 2013 01:53:00      HSBC/Mitsubishi,   PO Box 5253,
               Carol Stream IL 60197-5253
29063958      EDI: IRS.COM Sep 19 2013 01:53:00      Internal Revenue Service,    Fresno CA 93888-0010
29751926      E-mail/Text: ECFOSHERMETA.COM Sep 19 2013 02:02:41      J.P. Morgan Chase Bank, N.A.,
               c/o Shermeta, Adams ~ Von Allmen, P.C.,    P.O. Box 80908,    Rochester Hills, M2 48308-0908
29804147      EDI: RESURGENT.COM Sep 19 2013 01:53:00      LVNV Funding LLC its successors and assigns as,
               assignee of Citibank, NA,    Resurgent Capital Services,   PO Sox 10587,
               Greenville, SC 29603-0587
29438041      EDI: Q3G.COM Sep 19 2013 01:53:00      Main Street Acquisition Corp.,    Quantum3 Group LLC,
               PO Box 788,    Kirkland, WA 98083-0788
29757567      EDI: PRA.COM Sep 19 2013 01:53:00      Portfolio Recovery Associates, LLC,    c/o Household,
               POB 41067,   Norfolk VA 23541
33781232     +EDI: OPHSUBSID.COM Sep 19 2013 01:53:00      Vanda, LLC,   c/o Weinstein & Riley, P.S.,
               2001 Western Ave., Ste. 400,    Seattle, WA 98121-3132
                                                                                              TOTAL: 14

           ++*** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
intp          Courtesy NEF
cr            Deutsche Bank National Trust Company, as Trustee f
30159243      Citibank, N.A.



                                                                                                            ~~ ~~

                                    Exhibit B(2 pages)
        Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 74 of 76 Page ID #:74
        Case 6:11-bk-20377-D!    roc 106 Filed 09/20/13 Entere~ X0/13 22:07:48 Desc
                              Imaged Certificate of Notice Page 2 of 4


District/off: 0973-6                  Uaer: smalcolmC                    Page 2 of 2                         Date Rcvd: Sep 18, 2013
                                      Form ID: b18                       Total Noticed: 44
cr;             +Vanda, LLC,   c/o Weinstein & Riley, P.S.,   2001 Western Ave., Ste. 400,
                  Seattle, WA 98121-3132
29247986*       +CANDICA L.L.C.,   C 0 WEINSTEIN AND RILEY, PS,   2001 WESTERN AVENUE, STS 400,
                  SEATTLE, WA 98121-3132
28967788;       +JAMIE YVONNE MACK,   p0 Box 684,   Corona, CA 92878-0684
33781278•       +Vanda, LLC,   c/o Weinstein & Riley, P.S.,   2001 Western Ave., Ste. 400,
                  Seattle, WA 98121-3132
                                                                                               TOTALS: 3, * 4, ## 0
Addresses marked '+~ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct 2IP.

Addresses marked '++' were redirected to the recipient's preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I,Joseph Speetjeas, declare under the penalty of perjur~ that I have sent the attached document to the above listed entities in the manner
shown,and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed.R Bank.P. 2002(a)(1), a notice contaIning the complete Social Security
Number(SSN)ofthe debtor(s~ was furnished to all parties listed. This ot~lcigl court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary's privacy policies.
Date: Sep 20,2013                                             Signature: /s/7osep]1 S~eetjens




                                     CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email)
system on September 18, 2013 at the addrese(es) listed below:
              Andrew Bao     on behalf of Defendant   Citi Bank NA as Trustee for Meril Lynch Investments
               aabao~wolfewyman.com, lcwhite~wolfewyman.com
              Andrew Bao     on behalf of Defendant   Sanjiv Das as PRES/CEO of Citi Bank Montage
               aabaoc~wolfewyman.com, lcwhite~wolfewyman.com
              Balpreet Thiara     on behalf of Creditor   Deutsche Hank National Trust Company, as Trustee for
               Long Beach Mortgage Loan Trust 2006-8 ecfcacb~piteduncan.com
              Casper J Rankin    on behalf of Interested Party   Courtesy NEF ecfcacb~piteduncan.com
              David J Boyer    on behalf of Plaintiff   Citibank NA davidboyerlaw~gmail.com
              David J Boyer    on behalf of Creditor   Citibank, N.A. davidboyerlaw~gmail.com
              Jared D Bissell    on behalf of Creditor   Deutsche Bank National Trust Company, as Trustee for
               Long Beach Mortgage Loan Trust 2006-8 wdk~wolffirm.com
              Jared D Bissell    on behalf of Interested Paxty   Courtesy NEF wdkOwolffirm.com
              Josh Harrison     on behalf of Creditor   Vanda, LLC advnotices~w-legal.com
              Lynda T. Bui (TR)    trustee.buiOshbllp.com, C115~ecfcbis.com
              United Staten Trustee (RS)    ustpregionl6.ra.ecf0usdoj.gov
                                                                                              TOTAL: 11




                                                                                                                                 ~~ 7 ~
    Case 5:19-cv-00209-AG-SP Document 1 Filed 01/31/19 Page 75 of 76 Page ID #:75

                                                                                                              U~~
  'CASH BOND                                                          AGENCY#: DAR2015]61001/RDA
   RECOMMENDED:
  DEF#1 ~iG5.000.00
  DE'r#2 $165.000.00
  W,~~-                                                                                      FILED
  MICHAEL A. HESTRIN
                                                                                     Superior Court of California
  DISTRIG'T ATTORNEY                                                                     County of Riverside

                                      SUPERIOR COURT OF CALIFORNIA
                                                                                           02/07/2017       ~
                                                                                             TERRY ELLISOJ~~~~
                                                                                                            '
                                          COUNTY OF RIVERSIDE
                                                (Riverside)

  THE PEOPLE OF THE STATE OF CALIFORNIA, D.A.# 365353                                        ~RIF1700487
                                                    Plaintii~,   CASE NO.
                               ~.                                                                                ~l~l
                                                                 FELONY COMPLAINT
  JAMIE YVONNE MACK                                                                                                    m
  DOB: 02/23/1961                                                OTHER-SPS
                                                                                                                       e~
                                                                                                                       N
✓BRUCE MACK                                                                                                         0
                                                                                                                    ti
 DOB: 10/12/1962

                                                 Defendants.

                                                     COUNT l

         T;~:, ur.3c:sig.^c~', under p~nalh;of perjury npor_ information and belief, declare..: That the above named
 defendants, JAMIE YVONNE MACK and BRUCE MACK,committed a violation ofPenal Code section i 15, a
 felony, in that on or about October 10,2014,in the County of Riverside, State of California, the defendants did
 wilfully, unlawfully, and knowingly procure and offer a faise and forged instrument, to wit: DOCUMENT
 NO.2014-0387757(CORRECTION OF GRANT DEED),which instrument, if genuine, might be filed,
 registered, and recorded, under any law ofthis state and the United'States. [16/2/3 prison]


        It is further alleged that in the commission and at*~empted commission ofthe above offense the said
 defendants, JAMIE YVONNE MACK and BRUCE MACK,with the intent so to do, took, damaged and
 destroyed property ofa value exceeding sixty-five thousand dollars ($65,000.00), within the meaning ofPenal
 Code section 12022.6,subdivision (a),subsection (1). [lyr.]



                                                  MARSY'S LAW

         Information contained in the reports being distributed as discovery in this case may contain confidential
 inforn~ation protected by Marsy's Law and the amendments to the California Constitution Section 28. Any
 victims)in any above referenced charges)is enri8ed to be free from intimidation, harassment, and abuse. It is
 unlawful for defendant(s), defense counsel, and any other person acting on behalf ofthe de£endant(s)to use any
 information contained in the reports to locate or harass any victims) or the victim(s)'s family or to disclose any
 information that is otherwise privileged and confidential by law. Additionally, it is a misdemeanor violation of
 California Penal Code § 1054.2a(3) to disclose the address and telephone number of a victim or witriess to a




                                         Exhibit C C2 pg
                                                       a es)                                                    ~~ ~s~
     Case 5:19-cv-00209-AG-SP
                         /.   Document 1 Filed 01/31/19 Page
                                                        ~r
                                                             76 of 76 Page ID #:76




     Case #RIF1700487                                                     Filing Date 02/07/2017


defendant, defendant's family member or anyone else. Note exceptions in California Penal Code § 1054.2a(a)
and (2).


        I declare under penalty ofperjury upon information and belief under the laws of the State of California
that the foregoing is true and correct.

                                                                                            Michael A. Hestrin
                                                                                              District Attoraey

Dated: January 25,2017

                                                                                  By: Stephanie B. Weissman
                                                                         Supervising Deputy Disvict Attorney

iw




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                                                                                                         ~~.
